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                            EXHIBIT 1

DISTRICT OF COLUMBIA SUPERIOR COURT DOCKET SHEET AND
                     DOCUMENTS
               Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 2 of 70
                                                              Civil Actions

                                                        Case Summary
                                                    Case No. 2023-CAB-000246


Michael R. Newman v. Howard University School of Law                §                          Location: Civil Actions
et. al.                                                             §                    Judicial Officer: Matini, Shana Frost
                                                                    §                           Filed on: 01/16/2023



                                                       Case Information

                                                                                                 Case Type: Contract
                                                                                                   Subtype: Breach of Contract
                                                                                                Case Status: 01/16/2023 Open
                                                   Assignment Information

            Current Case Assignment
            Case Number 2023-CAB-000246
            Court            Civil Actions
            Date Assigned 01/16/2023
            Judicial Officer Matini, Shana Frost



                                                      Party Information

                                                                        Lead Attorneys
Plaintiff    Newman, Michael R.
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              Washington, DC 20010
Defendant Bright, Debra                                                 Shafer, Amanda E
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                                                                        CROWELL & MORING LLP
                                                              PAGE 1 OF 3                              Printed on 02/16/2023 at 10:59 AM
               Case 1:23-cv-00436-TNM Document    1-2 Filed 02/16/23 Page 3 of 70
                                        Civil Actions

                                                       Case Summary
                                                  Case No. 2023-CAB-000246
                                                                 1001 Pennsylvania Ave., N.W.
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             Identities Unknown, THIRD PARTIES
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              Washington, DC 20008-1154
             Lanier-Smith, Lawan                                    Shafer, Amanda E
              Office of Student Conduct, Howard University          Retained
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                                                                    aberman@crowell.com



                                             Events and Orders of the Court

01/16/2023
             Complaint Filed
               Claim Amount: $8,407,000.00 No Summons submitted
               Docketed on: 01/17/2023
               Filed by: Plaintiff Newman, Michael R.
01/24/2023
             Summons Issued
               Party: Plaintiff Newman, Michael R.
01/24/2023
             Initial Order [Remote]   (Judicial Officer: Matini, Shana Frost)
02/10/2023
             Notice to Court (Praecipe) to Enter Appearance Filed
               Date 2: 02/14/2023
               Filed by: Defendant Bright, Debra;
                          Defendant Evers, Cynthia;
                          Defendant Frederick, Wayne A.I.;
                          Defendant Holley, Danielle ;
                          Defendant Howard University;
                          Defendant Howard University School of Law;
                          Defendant Lanier-Smith, Lawan
04/21/2023
             Remote Initial Scheduling Conference (9:30 AM) (Judicial Officer: Matini, Shana Frost)



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                          Civil Actions

                                     Case Summary
                                  Case No. 2023-CAB-000246
                                  Financial Information

Plaintiff    Newman, Michael R.
Total Financial Assessment                                                        120.00
Total Payments and Credits                                                        120.00
Balance Due as of 02/16/2023                                                        0.00




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                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                  Civil Division
                                            )
                                            )
MICHAEL R. NEWMAN                           )
1935B Lamont Street NW                      )
Washington, D.C. 20010-2624                 )
(808) 796-4708                              )

                    Plaintiff               )
                                            )
        v.                                  )
                                            )
HOWARD UNIVERSITY SCHOOL OF LAW
2900 Van Ness Street NW                     )
Washington, D.C. 20008-1154                 )
(202) 806-8000                              )

       and                                  )
                                            )
HOWARD UNIVERSITY                           )
2400 Sixth Street NW                        )
Washington, D.C. 20059-0001                 )
(202) 806-6100                              )
                                            )
       and                                  )
                                            )
DANIELLE HOLLEY, DEAN                       )
Howard University School of Law             )
2900 Van Ness Street NW                     )
Washington, D.C. 20008-1154                 )
(202) 806-8000                              )
                                            )
       and
                                            )
WAYNE A.I. FREDERICK, PRESIDENT             )
2400 Sixth Street NW                        )
Washington, D.C. 20059-0001
(202) 806-2500
                                            )
       and                                  )


                                        1
        Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 6 of 70




CYNTHIA EVERS                                            )
Vice President for Student Affairs                       )
2400 Sixth Street NW                                     )
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(202) 806-6100                                           )
                                                         )
       and                                               )
                                                         )
DEBRA BRIGHT                                             )
Associate VP of Student Affairs                          )
2400 Sixth Street NW                                     )
Washington, D.C. 20059-0001                              )
(202) 806-6100                                           )

       and                                               )
                                                         )
LAWAN LANIER-SMITH                                       )
Office of Student Conduct                                )
2400 Sixth Street NW
Washington, D.C. 20059-0001                              )
(202) 806-6100                                           )
                                                         )
       and

THIRD PARTIES                                            )
Identities to Be Sought through Discovery                )
                                                         )
                       Defendants                        )
                                                         )


                    COMPLAINT FOR BREACH OF CONTRACT,
               BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING,
             DEFAMATION, TORTIOUS INTERFERENCE WITH CONTRACT,
                AND VIOLATION OF § 1981, § 1985(3), D DC H HA, AND
                      TITLE VI OF CIVIL RIGHTS ACT OF 1964
                                        Jury Trial Demanded.
                                             COMPLAINT


                                               PARTIES

1.     Plaintiff Michael Ray Newman, residing at 1935B Lamont Street NW, Washington D.C., 20010-

       2624, was a student of Howard University School of Law at all times relevant to this complaint.


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2.   Defendant Howard University School of Law ("Howard Law" or "School") is a private college with

     principal place of business at 2900 Van Ness Street NW, Washington, D.C., 20008-1154.


3.   Howard University ("University") is a private university headquartered at 2400 Sixth Street NW,

     Washington, D.C., 20059-0002, and operates Howard Law.


4.   At all relevant times, Defendant Danielle Holley, formerly Holley-Walker ("Holley"), was Dean of

     Howard Law; Wayne Frederick ("Frederick") was President of the University; Cynthia Evers

     ("Evers") was University Vice President for Student Affairs; Debra Bright ("Bright") was Associate

     Vice President for Student Affairs; and Lawan Lanier-Smith ("Lanier-Smith") was the University's

     Director for the Office of Student Conduct and Community Standards.


5.   Defendant third parties, identities to be sought through discovery, include students and other

     parties who induced University officials to breach the School's contract with Newman, who

     prompted Holley to initiate an action of expulsion, and as specified below.


                                      JURISDICTION AND VENUE

6.   Jurisdiction is proper pursuant to D.C. Code § 11-921 and § 13-423.


7.   Plaintiff is a United States citizen and resident of the District of Columbia.


8.   Defendants University and School are headquartered in the District of Columbia. Events

     underlying this Complaint occurred in the District of Columbia and/or by, on, or through the

     agency of University administrators.


                                         SUMMARY OF FACTS

9.   On December 12, 2019, Howard University School of Law offered Plaintiff Michael Newman


     ("Newman") a placement in its three-year Juris Doctor ("J.D.") program for the study of law. As

     incentive, Howard presented Newman with a scholarship offer of $26,250.00 per year for three



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      years based on Newman's competitive score on the Law School Admission Test ("LSAT") and

      undergraduate grade point average ("GPA"). Newman accepted the scholarship and

      matriculated with the incoming class in the fall semester of 2020. He continued as a student in

      good standing until expelled by the University on September 19, 2022.


10.   In the summer of 2020, students of Newman's class set up web-based chat rooms using the


      mobile phone application "GroupMe." Newman joined two such chat groups, one exclusive to

      "Section 2" (one of three sections of the 2023 class) and a second inclusive of the entire class. In

      the same manner as other students, Newman used this chat group for purposes which included

      sharing school-related information, discussing issues of politics and society, and socializing.

      Privately, Newman posted to a Twitter account but neither interacted with classmates through

      Twitter nor to his recollection ever informed anyone at Howard Law of his Twitter identity.


11.   Fears surrounding Covid prompted Howard Law officials to announce online-only study from fall

      2020 through spring 2021. Students attended classes via "Zoom" or "Teams" software and were

      introduced to Westlaw's online courseware West Education Network ("TWEN"), where they

      obtained schedules and course work and submitted assignments to professors. Most professors'

      TWEN sites included a "Forum" page that allowed any student access to post and respond to

      topics at will. Most instruction conducted over Zoom or Teams featured a chat function in which

      students freely posted comments responding to the professor and to one another. Howard Law

      regularly used an email listserv hosted by Google Gmail to communicate with the 2023 class, the

      student body as a whole, or all students, faculty, staff, and alumni ("Howard community").


12.   In October 2020, students attended a symposium during which an African-American speaker


      claimed that if Biden and Harris won the White House they would usher in a "golden age of

      environmental justice." In response, Newman typed a comment to his Section 2 classmates on



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      GroupMe: "Where part with the black community is where they believe government solves
                          |




      problems, only see it causing problems." Newman asked if further dialogue could be had on
                 |




      whether: (1) black voters didn't question turning to government for solutions, and (2) reliably

      voting for the same party every election disincentivized both parties from responding to the

      needs of black communities. Some classmates voiced willingness to engage in dialogue with

      Newman, but upon the request of another student, Newman agreed to move the debate off

      GroupMe and announced to those who had engaged with him that he would respond to them

      on a professor's Forum page, which he then did, redacting names of students who had asked to

      be omitted. The same professor had, at the beginning of the semester, welcomed all students to


      post topics freely to her Forum and to consider it "their page" to use as they liked.


13.   Some students reacted with acrimony to Newman's Forum entry and contacted School

      administrators. One wrote to Newman individually stating, "You are way outta pocket and      |




      hope [the professor] drags you for filth. pull up your urban dictionary if u want but your

      groupme privileges are revoked[.]" Newman was removed from the Section 2 GroupMe chat.


14.   During the same time, Newman made a comment in the Zoom chat of his Legal Reading,

      Research, and Writing ("LRRW") class comparing himself as a Caucasian student at Howard Law

      to an African-American student at a primarily-white university. Newman expressed feeling

      "utterly disenfranchised." Classmates responded with rancorous opposition and called his

      remarks "offensive." Newman responded, "I'm here to learn, not just law, but to learn the

      thoughts and experiences of people of color. Learning is by definition being corrected, so from

      what I can tell have to be permitted to make mistakes. Everyone is invited to correct me." One

      classmate called on him to apologize, and he replied, "[F]rom the bottom of my heart, would
                                                                                               |




      never offend any student or faculty at Howard deliberately. Please accept my apology."




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15.   Classmates became more overtly hostile, and some conspired to seek his expulsion. A class

      officer interrupted a professor at close of class to announce a gathering at which Section 2

      students would discuss "next steps"; when the professor asked in response to what, the officer

      spoke abstractly without naming Newman, but classmates understood she was talking about

      him. The professor replied jokingly, "Whoever it is, I'll kill him!" Newman felt humiliated.


16.   In a phone conversation McGahee told Newman he had become the most hated student


      McGahee had seen in his tenure at Howard Law. McGahee attempted to persuade Newman of

      the insensitivity if not outright offensiveness of his comments but could not explain in clear

      terms what he found offensive about them. Newman expressed a willingness to comprehend

      where his error lay before apologizing, and McGahee endorsed this approach. The two

      discussed whether Newman might write a letter to his classmates attempting to better explain

      his positions and reconcile lingering disagreement or animus.


17.   A legal research and writing professor spent almost an entire class session discussing Newman

      and his purported racial insensitivities. Newman had no prior knowledge of the professor's


      planned discussion and was as surprised as his classmates. Nevertheless, some complained that

      controversies for which they deemed Newman responsible were causing them severe stress

      that distracted them from their studies. In deference to this reported anxiety Newman fell silent

      for the remainder of the fall 2020 semester and voiced no further opinions. Throughout that

      time classmates remained hostile toward Newman and refused his participation in study groups.

      A combination of public ostracism, vilification, and humiliation caused Newman to suffer

      depression, anxiety, and suicidal thoughts. He attempted to seek mental health counseling

      through the University, but University counseling services informed him they could not obtain

      the licensing exemption required to provide service in Hawaii, where he resided. Depression and

      anxiety severely hampered Newman's ability to focus on law study.

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18.   In January 2021 Newman distributed a letter to his classmates in four parts. In his first


      installment, he explained the purpose of his letter, to share "reflections and observations as

      honestly and critically as can in hopes that some of you will receive wisdom from them and
                                |




      reopen your hearts to the friendship that have long wished to share with you." In his second,
                                                 |




      he recapitulated comments that had stirred controversy, affirmed the diversity of "the 'black'


      community," and called into question some classmates' claims of past race-based harassment at

      other universities. In his third, he related past experiences crossing cultures, which he believed

      "should ideally result in a true merger that forever changes both the newcomer and the host

      environment for the better." His third and fourth installments increasingly incriminated Howard

      Law as a haven for racial bigotry: "Howard Law should establish educational programs to

      promote understanding among its majority-black student body and facilitate dialogue to better

      enhance mutual understanding among its multiracial and multi-ethnic student body. What HUSL

      needs now is more, not less, open and constructive dialogue." Near the conclusion to these

      communications, January 26, 2021, he shared a link to view Uncle Tom, a documentary film by

      commentator Larry Elder, the rights to which he had purchased for $300, with his class.


19.   In mid-January 2021 Newman became aware a classmate had discovered his private Twitter


      account and unearthed a "tweet" he had posted July 30, 2020, that reproduced a well-known

      image of emancipated slave "Gordon" baring his very badly scarred back. Newman captioned

      the image, "But we don't know what he did before the picture was taken!" The classmate

      "retweeted" (disseminated a screenshot of) Newman's post to other classmates, who in turn

      reposted and shared it with others within and outside the Howard community. Newman

      immediately responded to several retweets, including the original classmate's, remarking, e.g.,

      "Hello [student's name]. As you retweet this post to vilify me, be aware my point was ironic, in

      response to Americans who attempt to explain away videos of police brutality by claiming that


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      the victim must have committed wrongdoing before the video started that justified the

      violence." He added, "This shouldn't need mention, but like you, view what happened to this
                                                                        |




      man as unconscionable. That you think would condone physical abuse or slavery shows you
                                              |




      know less about me than you could learn by one phone call. You know how to reach me."

      Neither the original retweeter nor any other responded to attempts at dialogue. Newman

      tracked down every retweet he could and noted widespread references to his race, gender,

      sexual preference, age, and personal appearance by members of the Howard community.


20.   Overwhelmingly, student reception to Newman's letter and his offer of the documentary film

      was negative. Several students derisively labeled his letter a "manifesto." One accused him of

      "objectively racist, sexist, and overall problematic behavior," another of "manipulating

      [classmates'] emotions ... as a social experiment." Subsequent to the third installment of

      Newmans letter, he was removed from the 2023 class-wide GroupMe.


21.   In an email dated January 26, 2021, Newman wrote to Howard University President Wayne


      Frederick, with cc to Holley, "request[ing] assistance from Howard administration to address

      racial discrimination" and seeking "reassurance that my status as a Caucasian student is equal to

      that of my African-American colleagues." Newman attached to his email an exchange Newman

      had engaged in with a classmate on GroupMe. The classmate had ridiculed him, dubbed him


      "Mayo king," and posted an image of a jar of mayonnaise (a pejorative epithet for Caucasians).

      Students observing the exchange had said nothing in admonishment to the classmate but

      rebuked Newman, then excluded him from the chat. President Frederick never responded, but

      minutes after Newman's email Holley replied asking him to meet with her.


22.   Later the same day, January 26, 2021, Newman distributed the fourth and final part of his letter.

      Because he had been removed from all group chats, he shared the fourth installment, as well as



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      his offer of é documentary film, over a School listserv. Following this, McGahee emailed the


      class of 2023 stating: "[U]se of law school listservs ... are restricted to official approved law

      school business and organizational use. Mass email exchanges are violations. The policy


      regarding mass emailing was suspended and is under review to allow students to communicate

      without layers of approval. We are prepared to reinstate the formal listserv use policy if the

      need is apparent. Please consult the office of Student Affairs prior to sending mass emails if you

      are unsure whether your message meets the stated criteria." [Emphasis added.] McGahee did

      not elucidate where Howard Law's "formal listserv use policy' was to be found, did not

      reproduce its precise language, and at no time subsequent to his email ever indicated the

      "formal listserv use policy" had been reinstated.


23.   Less than one hour after McGahee's email, Holley emailed Newman individually stating, "It has

      come to my attention that you are sending email messages to the Class of 2023 listserv. You are

      not authorized to send these emails. request that you no longer send any emails to the Class of
                                             |




      2023 email list or any other law school email list. The class emails lists are intended to be used

      by law school faculty, staff, and administrators for official law school business and official

      announcements from student organizations."


24.   In response to Newman's documentary offer, several students replied over the School listserv.


      One called him a fool. One wrote, over the listserv, "Stop clogging the listserv." Another


      speculated he had a "savior complex." In response to the fourth part of his letter, a classmate

      wrote over the listserv, "According to a cishet white man (1L), Howard University School of Law

      is among the most RACIST universities in the COUNTRY." Administrators did not reprimand or


      place consequences on classmates for emailing over the listserv. Newman sent a total of two

      emails over School listservs in 2021 and none after he was asked to stop.




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25.   Holley, McGahee, and Newman met two days later, January 28, 2021, over a Zoom conference

      call. Holley secretly recorded the meeting, she would later admit. Holley complained that

      Newman's race discrimination concerns were wasting university resources and demonstrated to

      her Howard Law was a poor choice for him. She suggested he transfer elsewhere. She listed

      numerous complaints she considered ill conduct on Newman's part, including a video he had

      shared in the 2023 class GroupMe, the image of Gordon he had tweeted from his private

      account, and observations and opinions he had expressed on public matters. She accused

      Newman of racially harassing classmates. She emphasized that as a private university Howard

      Law owed Newman no First Amendment rights. She asked that from then on Newman confine

      his activities to classroom study and refrain from discourse outside the classroom. She denied


      mayonnaise was an epithet or that Newman was a victim of racial discrimination. She said she

      had asked students to avoid interacting with him and to remove him from GroupMe.


26.   Newman explained to Holley the intent of his tweet of "Gordon" was to support protecting

      present-day racial minorities from police brutality. Holley expressed understanding and relief.


27.   The next day, Howard Law told Newman his fall 2020 academic performance placed him in the

      bottom half of his class and jeopardized continued award of his academic merit scholarship.


28.   January 31, 2021, three days after her private Zoom conference with McGahee and Newman,

      Holley hosted a regularly scheduled "Town Hall" meeting. Normally the weekly venue hosted up

      to ten participants, however, in the days leading up to the Town Hall large numbers of students

      signaled their determination to attend, discuss Newman, and probe administrators as to their

      planned response. One student tweeted: "Me waiting patiently for my classmates to gather

      mayo king and admin in this community meeting." A group of students formed a separate chat

      group for live discussion during the Town Hall, at one point naming their group "King Mayo."



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      Newman wrote twice to Holley and McGahee predicting "a tremendous amount of vitriol" at the

      Town Hall, requesting "a trained professional [be] present to mediate the discussion," and

      recommending Denise Robinson, a professional counselor who had hosted inclusivity seminars

      for Howard Law in the past. Administrators ignored both requests but emphasized the purpose

      of the Sunday Town Hall was "not to discuss you or any other student." Holley did not provide

      Newman with a link to attend the Town Hall. He requested and obtained one from McGahee.


29.   Addressing a crowd of 300 participants, Holley opened by saying, "[I]t was very clear what the

      topic this week needed to be." The entire two hour, ten minute meeting was spent discussing

      controversies surrounding Newman, venting hostility and anger toward him and statements and

      views attributed to him. Holley indicated she had met or would meet separately with Howard

      Law alumni to discuss the same topic. (Newman was never invited to join any alumni meeting.)

      After introductory remarks Holley invited all participants who had comments or questions to

      press the Zoom application's "raised hand" function. Newman repeatedly did so.


30.   Addressing the crowd, Holley averred that FERPA prevented her from discussing any particular

      student, thus she avoided calling Newman by name, but all participants understood her

      discussion pertained to him. Holley acknowledged a "petition received this morning," adding,
                                                                     |




      "we take that very seriously." Holley characterized Newman's writings as "hurtful," "wrong,"

      "lies," "untruthful," "not based in history," and "disturbing in every sense of the word." She cast

      Newman as someone who was "in our community who [doesn't] share our values." She

      repeatedly urged students to file formal complaints against Newman for disruption, instructed

      them how to do so, and offered additional assistance as needed.


31.   (No student ever filed a formal complaint against Newman under the Code.)




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32.   During the Town Hall, students referred to Howard Law as "a black space" six times and called

      the School "our space" or "our own space" four times. Holley endorsed and repeated this use of

      the word saying, "One of the questions that have for this group is, what does it mean for us to
                                                   |




      protect our own spaces?" A student wished to determine "what it means to be a black space,"

      and added, "We do have a role in defining what our space is and how our space looks and the

      standards of engaging in it." One student called Newman's comments "racist, homophobic,

      sexist, transphobic," however, at no point in the Town Hall were his past comments examined,

      quoted, or their content discussed on its merits. Rather, all discussion focused solely on the fact

      that a Caucasian student at Howard Law had broken tabus by voicing unpopular views and

      opinions and refusing to defer to African-American classmates.


33.   One student said Newman had "infiltrat[ed] the community" and "[didn't] fully understand the


      community standards." She and others suggested interviewing future applicants to weed out

      others like Newman. Newman was accused of "terrorizing the students," of "derailing entire

      classes because of [his] entitlement," and "repeated incidents of harassment." One student

      connected Newman to what he called a "white supremacist insurrection" at the Capitol three

      weeks prior (January 6). References to Newman's race were made continuously throughout the

      town hall. He was chastised for using a brown-toned "raised hand" icon instead of a fair one,

      which one student called "virtual blackface." One student went so far as to compare Newman to

      Caucasians of prior generations who had "hung [African-Americans] from trees." In fact, he

      initially accused Newman of directly participating in such crimes but quickly corrected himself:

      "[A]s we were hung from trees, you said, 'Get that'-uh, uh, the people, white people, said, 'Get

      that boy!'" Many expressed dissatisfaction Holley had not already taken corrective action.


34.   In the chat, Newman asked, "How do we reconcile calling Howard a multiracial community that


      embraces diverstiy [sic] and inclusion while continuing to use terms like 'our own space' and 'a

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      black space'?" To this students replied: "Example #1000 from Mr. Newman";        "this is what we


      are talking about"; "we reconcile it by acknowledging you're at   a   HBCU"; "[dJo you even know

      what an HBCU is my guy." Two students accused Newman of "hate speech." Six references were

      made to his race. A student typed, "Imagine a white man believing that they have radical ideas

      to bring to an HBCU campus."


35.   During the course of the Town Hall, Newman requested to speak by raising his electronic "hand"

      three times. Holley disengaged his "raised hand" each time. Soon after Newman commented in

      the chat, the chat function was turned off. He was unable to unmute himself in order to speak,

      though all discussion revolved around him, and a number of participants called on him to speak

      apparently believing he was refusing when in fact he was unable. When discussion turned to

      Newman's tweet of former slave Gordon and students expressed their dismay that a Howard

      Law student (they thought) endorsed physical abuse of slaves, Newman held up a handwritten

      sign to his webcam that read: "DEAN HOLLEY-WALKER: Please correct the record as regards the

      photograph of a beaten slave." Immediately, Holley turned off Newman's camera. After a time

      the chat was reopened, and Newman typed: "I would like to explain the photograph. Dean

      Holley-Walker, you already know the explanation. Allow me to explain if you won't." Other

      participants also pressed Holley to grant Newman an opportunity to speak. In response Holley

      announced she would unmute Newman and allow him to speak. Then, without explanation, she

      invited two other participants to speak and afterward announced she was closing the meeting.

      Many comments poured into the Zoom chat insisting Newman be given a chance to speak.

      Holley finally extended the meeting to invite Newman to speak, which he did for eight minutes

      before Holley interrupted.


36.   Newman invited anyone who was interested to speak with him over the phone. He offered to

      answer any questions anyone had. He explained that his tweet of Gordon was intended to voice

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      support for racial minorities who suffered police violence. He denied ever supporting slavery,

      violence, or subjugation of racial minorities and affirmed a desire to see "people of color lifted

      up educationally and economically" as well as a commitment to "free speech and open

      dialogue." He "extend[ed] [his] love and friendship to everyone in the class" and professed a

      "genuine feeling of devotion, wanting to serve people of color in the United States."


37.   Newman's words did little to quell criticisms from other participants. Derisive comments

      continued to appear in the Zoom chat and included frequent references to Newman's race. One

      called him "the White Panther." Another typed, "white man Savior complex maybe?" Holley

      demonstrated throughout the Town Hall she was watching the chat attentively but said nothing

      in response to antagonistic comments highlighting Newman's race.



38.   In the days leading up to the Town Hall and during it students and alumni posted comments


      about Newman to one another over Twitter, calling him "keebler cookie" (pejorative for

      Caucasian), "the white man,"    this racist white man,"   cis-het white man,"   wild ass white boy,"

      and "snow possum," and reproduced his photograph for public ridicule. One tweeted, "how are


      you gonna say h*ward is racist???? it was created because of racism homie." One tweeted,

      "NOT THIS WHITE MAN WITH A BROWN HAND" (referring to his brown-toned raised hand) and

      "Does this man have to call us [N-words] for them to actually do something???" Another

      tweeted, "why is this racist white man STILL at HUSL[?]"


39.   Two days following the Town Hall meeting, Holley sent an email to the 2023 class, but omitting

      Newman from among recipients, which stated,         made a request several weeks ago to your

      class leadership to have any student who uses GroupMe in a way that is disruptive to the

      educational environment removed from the GroupMe. Please monitor your GroupMe chats and

      report to me any posts that are disruptive to the academic environment."



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40.   Although Newman's final grades in fall 2020 had averaged among the lowest in his class at 70.4,

      his spring 2021 average rose to 90.7. Newman believed his spring grades brought his cumulative


      average up to the top half of his class.


41.   In August 2021, now required to attend class in person, Newman moved with his son from


      Hawaii to northwest Washington, D.C., and enrolled his son into a local elementary school; his

      wife and daughter remained in Hawaii. Newman attended class regularly. On August 25, 2021,

      Newman visited McGahee's office to inquire about an administrative hold on his account and

      apparent delay with his scholarship. McGahee informed Newman later that day that he had

      fallen within the lower half of his class and that as a consequence his scholarship had been

      revoked. On October 6, 2021, Newman met with Holley and McGahee to ask them to consider

      reinstating his scholarship on one or another of two bases: One, he asserted that his poor

      performance in the fall of 2020 resulted directly from mental anguish caused by a hostile

      educational environment arising from racial discrimination which administrators knowingly

      allowed and even fomented. Newman recounted how, during fall 2020, ostracism and public

      humiliation had caused him to suffer depression, anxiety, and intrusive thoughts of suicide. Two,

      he was never informed before moving to Washington that his scholarship had been revoked.


42.   Holley denied Caucasian students at Howard Law, and Newman in particular, faced racial

      discrimination to any degree. McGahee claimed all Newman's difficulties with classmates sprang

      from the fact that Newman said offensive things.


43.   In September 2021, a Howard Law administrator called a gathering of second-year students to


      discuss academic performance and offer guidance to improve their grades. She opened the floor

      for questions or comments, reassuring them that "whenever you are sharing space with me that

      it is a safe space"; and "You can share with each other in this room even though you may not



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      feel comfortable doing that in other spaces"; and "We're all in this thing together." Newman

      raised his hand and when called on said,     love my classmates. love being here. wouldn't
                                                                        |                  |




      [rather] be at any other school... say this with love. don't mean to bring up animosity, but it's
                                                             |




      an unquestionable fact for me that my fall grades were a flop as a direct result of discrimination

      that had to face in the one-L year." As Newman was speaking, every classmate in the room, as
           |




      many as two dozen, stood up and walked out, with the administrator following behind.


44.   On October 21, 2021, Newman was permitted to join a new GroupMe chat populated by the

      entire student body as well as alumni. Newman expressed a desire "for open dialogue about

      Howard's lack of inclusivity." Subsequently, he asked, "Has HUSL achieved an inclusive

      environment? Or is it failing in this regard?" Newman commented, "Double kudos to anyone

      struggling with a psychiatric condition who chose to study law. Either burden by itself would

      hobble most people. But as a practicing attorney you'll be uniquely disposed to meet the needs

      of mentally ill clients caught up in a legal system that stacks the deck against them. Rare is the

      lawyer with the patience and insight to look past the illness and see the person within and guide

      them past institutional obstacles and societal prejudice. Thanks for persevering." A classmate

      reacted by accusing Newman of "passive-aggressively attempting to insult yet another Black

      person in this GroupMe." Newman was permanently removed from the chat group.


45.   Newman filed a formal complaint of racial discrimination with the University alleging that his

      exclusion from GroupMe was motivated by racial animus. Newman met with an attorney to

      whom the University had outsourced its investigation. Newman told the attorney-investigator

      that racial discrimination at Howard Law was pervasive and oppressive. A conclusion to the

      investigation read: "Howard University reaffirms its commitment to provide an environment for

      its community members that is free from discrimination, harassment and retaliation.... Based on




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      an investigation that was completed, a finding of racial discrimination in violation of federal or

      local laws, or University policy, could not be substantiated."


46.   On January 24, 2022, a student sent an email over the School listservs, attaching an open letter

      to Holley signed by 26 classmates voicing their disagreement with the School's decision to

      return to in-person study in the face of what he considered unacceptable health risk presented


      by "the serious and worsening state of the pandemic." The classmate purported to write "[o]n

      behalf of the student body." Holley replied, also using the listservs: "Good morning, will review
                                                                                                |




      your letter carefully. am happy to continue to address the concerns in this letter. ...       |   will hold

      open office hours tomorrow. ... welcome all concerned students to join those sessions."


47.   The following day, January 25, 2022, Newman emailed a response to the open letter, also using

      School listservs, stating that "every member of the student body should be at liberty to share his

      views as these signers have and respond to one another as I'm doing, whether via the listserv or

      elsewhere." Newman praised the classmates "for their willingness ... to voice their views openly

      and attempt to wrest control for themselves over decisions directly affecting them" and

      admonished administrators for their "aloofness" and "often opaque and autocratic policies."

      Newman, however, disagreed with the premise of the open letter and contended "the perceived

      risk of Covid to healthy young people [was] [] highly overblown," while a lack of in-person

      human contact was jeopardizing people's mental health.


48.   Twenty minutes after sending his email, Newman received a reply from Holley stating,

      "Mr. Newman, This is an unauthorized use of the law school's email system and the class

      listservs. Please refrain from using these mediums of communication." Newman replied, asking,

      "Why was my email unauthorized but the open letter others sent wasn't? Why would you want

      to prevent me from responding to an open letter that purported to represent me? What



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      medium of communication is available to me in absence of the listserv?" Holley did not respond.

      Newman set an appointment to meet with Holley the same day.


49.   It was well known at the time a 28-year-old Howard Law student had died suddenly and


      unexpectedly. Administrators had revealed no cause of death. Newman contacted Howard Law

      Director of Student Affairs Adrienne J. Packard on January 24, 2022, but she had no information.

      Some speculated the student may have committed suicide. In a private Zoom call of January 25,

      2022, Newman asked Holley the cause of the student's death. Holley replied that she was

      "baffled" by what she considered a "highly inappropriate question." She nevertheless denied

      the student's death was related to suicide, Covid, or the Covid vaccine.


50.   On the topic of Newman's email earlier that day, Holley clarified that a year earlier, January 28,


      2021, she had permanently banned Newman from any use of School listservs. She said she had

      assigned to Newman a special status unlike that of other students who also had used School

      listservs at the time. She called Newman a chronic offender of the School's "listserv policy." She

      again did not supply any printed text or identify any location or precise language of such a

      policy. Conversely, she conceded Newman may email classmates using cc or bcc email functions.


51.   In attempted compliance with Holley's instruction, on January 29, 2022, Newman sent an open


      letter from his private email account, using the bcc function, to   a   number of students with an

      open letter calling on Holley to delay a pending vaccine booster deadline and encouraging

      students to investigate more fully before undergoing repeat vaccinations. He shared a link to a

      news report in the deceased classmate's hometown reporting she had died from pulmonary

      embolism (PE), a condition scientifically linked to mRNA vaccines.


52.   Minutes after Newman's email he received a reply from Dean Holley stating,           warned you on

      Wednesday not to send any more unauthorized emails to the law school student body or using


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      law school resources. You are now using the Outlook address book to individually email students

      with a message that has been characterized by your fellow students as 'disgusting' and

      'disturbing'. You have continued to violate the University's email policy. Please be on notice that

      |   am having your Howard email address suspended and your gmail blocked from the law school


      system. will bring student code of conduct charges against you on Monday morning."
                |




53.   On January 31, 2022, Holley filed a formal complaint against Newman alleging "continual

      harassment of member [sic] of the Howard Law community, and disturbance of the learning

      environment at the School of Law." The same day, Newman filed a formal complaint against

      Holley alleging "threats," "discrimination," and "hostile academic environment." Newman

      contended, "[Holley's] verbal and written threats of disciplinary action are misuses of university

      procedure and abuses of the power imbalance that inheres in her position as Dean aimed to

      intimidate me from expressing information and views she disfavors and to control what

      information or opinions are shared among classmates." He asked for formal investigation and

      disciplinary action against Holley.


54.   That evening, January 31, 2022, Newman arrived to a class on campus and was met at the door

      by six students who told him that talking about the classmate's death was "unacceptable." They

      rejected Newman's attempt to engage them in dialogue, telling him they only wished to

      communicate to him their displeasure and warn him never to do it again. The students told

      Newman Holley owed him no duty to share facts pertinent to the deceased classmate's death.


55.   Holley's complaint was adjudicated by the Director of Howard University's Office of Student

      Conduct & Community Standards Lawan Lanier-Smith. Lanier-Smith was also the official to

      whom Newman had submitted his complaint against Holley. In an introductory meeting of

      February 25, 2022, Lanier-Smith refused to reveal the status or whereabouts of his complaint



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      against Holley, saying only that it had been referred to "appropriate" University administrators.

      Lanier-Smith spoke of Holley's accusations against Newman as established facts rather than as

      unsubstantiated claims. She asked him to submit a written explanation for his "continuous" use

      of listservs over the protests of School administrators and his insistence on "disrupting" School

      operations. Newman emailed Lanier-Smith asking her to recuse herself. She never responded.


56.   To his knowledge and belief, Newman's complaint against Holley was never adjudicated.


57.   Lanier-Smith informed Newman both at their initial meeting and at his first hearing that the

      Code denied him an opportunity to cross-examination Holley. In fact, the Code guarantees

      students the right "[t]o face accuser(s) and have the opportunity to cross-examine them."


58.   At Newman's first hearing of April 21, 2022, Lanier-Smith opened by emphasizing the

      importance of succinctness and "not taking up too much of everyone's time."


59.   Much of Holley's testimony at Newman's first hearing relied on material misquotes of his past

      written comments which Holley seemed to recall offhand rather than to read from original texts.

      She made numerous false claims, some having no clear relevance to her complaint. Her

      evidence included emails from students and other third parties, but she presented no witnesses.

      She spoke ramblingly with little indication as to which of Newman's alleged actions constituted

      offenses under the Code or which of these warranted disciplinary action. She accused Newman

      of having subjected classmates to "racial harassment," described Newman as argumentative

      and obstinate, accused him of harassing her administrative assistant, described a law school

      environment of mayhem for which she deemed Newman solely responsible, and declared she

      had never witnessed such a force for destruction in her entire career.


60.   After her conclusion, despite ample opportunity to question Holley, the only question posed,

      and one without relevance to the complaint, was, "What was the name of that symposium?"

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      Holley was never asked to show evidence Newman "continually emailed over the listserv" in

      2021 in defiance of administrators' instructions or for any other of her claims.


61.   Lanier-Smith informed Newman he may have no more than 15 minutes to present his defense.

      Newman produced electronic time stamps from emails of January 2021 that refuted Holley's

      claim he had defied her or McGahee's instructions. He pointed to the fact Holley's complaint


      largely accused Newman of disruption but that Holley had never shown how emails constituted

      disruptions. He took issue with her conclusory accusations and explained to the panelists the

      meaning of the word "conclusory" and why such evidence should be held unpersuasive. He

      denied making the statements Holley had attributed to him.


62.   Newman informed the panel that he had spent a total of some $1000 on classmates and had

      come to Howard Law with love and the hope for lifelong friendships.


63.   Panelists asked Newman why he had continued to use the listserv after being asked to stop

      despite Newman having just shown email timestamps refuting this claim. A panelist expressed

      incredulity that Newman had continued inquiry into the cause of a classmate's death after his

      Dean had denied him this information. They expressed disinterest in the news report the

      classmate died of pulmonary embolism or scientific evidence of a link between MRNA vaccines

      and PE. They discounted Newman's claim of unequal treatment, saying it was irrelevant that

      other classmates had engaged in substantially-same conduct as Newman.


64.   The University's Notice of Findings, delivered May 10, 2022, declared Newman "Responsible"

      but supplied no rationale for its decision. The Notice consisted solely of boilerplate with

      Newman's name and the word "Responsible" pasted in. Newman appealed.


65.   Newman contended procedural error, substantive error, and disproportionate sanction. As

      procedural error, citing relevant portions of the Code, Newman contended that most of Holley's

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      factual allegations pertained to the distant past, far beyond the five-day limitation of actions

      prescribed in the Code. He took issue with Holley's citations to "vague swaths of the Code ...

      without showing how any alleged act on my part constituted violations." He protested the

      denial of an opportunity to cross-examine Holley. He alleged "numerous examples of bias,"


      including Lanier-Smith's refusal to recuse herself. He called into question the propriety of

      allowing the complainant (Holley) license to interpret the Code and contended that an impartial

      observer would have found "no textual support in the Code" to support Holley's claims; or, to

      whatever extent the panelists or Lanier-Smith interpreted the Code independently, they failed

      to include their reasoning in their Notice of Findings. Newman cited the panelists' apparent

      disregard for seemingly unassailable evidence of email timestamps refuting several of Holley's

      contentions. Newman took issue with the limitation of 15 minutes for his defense. In conclusion,

      he alluded to "numerous other ways" in which he believed a fair process had been denied him.


66.   As substantial errors, Newman contended that Holley's claims included numerous falsifications

      and distortions of evidence. He called Holley's "inconsistent responses" to his conduct and his

      classmates' substantially-same conduct "unlawfully discriminatory." Newman insisted that not

      only had he complied with Holley's January 2021 request to cease use of the listserv, as well as

      her January 2022 similar request, but additionally, his email about a classmate's death, which

      became part of the basis for Holley's complaint, was sent in precise compliance with Holley's

      instructions. Finally, he called Holley's claim of harassment spurious.


67.   As a third basis for appeal, Newman declared expulsion a disproportionate sanction, writing,

      "One classmate finally convinced me [the deceased student] must have taken her own life. This

      caused me such severe anguish that wept uncontrollably. When regained composure, looked
                                            |                             |                       |




      online to see if any news outlet had shed light on her cause of death. That was when learned
                                                                                              |




      for the first time that [the student] had died of PE. She was 28 or 29 years old. personally had
                                                                                       |




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      never known of anyone [the student's] age in good health to die so suddenly and unexpectedly

      of a natural cause. It took only one simple internet search to discover a potential link between

      the Covid vaccine and PE. With the deadline approaching the very next day, undertook to warn
                                                                                    |




      my classmates to conduct their own research before undergoing additional vaccination. The fear

      of another death even woke me in the middle of the night to work on composing my thoughts

      for publication. The Dean herself had already granted her approval for emails sent from one's

      personal email account. But even if she hadn't, would have felt obligated as a matter of moral
                                                       |




      stewardship to alert students to the potential risk of undergoing vaccination."


68.   Newman added, "Similarly, every other writing have publicized to my classmates have
                                                       |                                    |




      intended to be for their benefit. came to Howard with the expectation that some students

      would be bigoted toward me on account of my race, my age, my sex, and other like factors.      |




      never anticipated such bigotry would so dominate the milieu. never envisioned that
                                                                     |




      administrators would not only condone that bigotry but stoke it yet greater. And despite

      discrimination on a scale none of my classmates likely ever experienced, never stopped caring
                                                                                |




      for their wellbeing. want them to see the logical fallacies built into the world view that's been
                          |




      foisted on them, the wealth of evidence that undermines their assumptions about their own

      status and station in American society, and the improvements they could foster by believing not

      only in themselves but in those they deem their enemies. Perhaps above all, believe it is my
                                                                                        |




      right and responsibility to fight without ceasing for the right to freedom of expression and

      dissent. And the record will show that have made every attempt to exercise this right through
                                             |




      proper venue and decorum."


69.   On June 6, 2022, Associate Vice President Bright informed Newman she would consider an


      appeal on two grounds: procedural error, "but only with respect to the opportunity for cross-

      examination," and disproportionate sanction. Bright confirmed the Code guaranteed an accused

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      student the right to cross-examine his accuser. She admitted she had heard a recording of the

      hearing and heard Lanier-Smith deny Newman an opportunity to cross-examine Holley. But she

      refused to answer whether this alone were not enough to support Newman's appeal and

      refused to state whether the hearing had been biased against him. When Newman invited


      Bright to ask him questions, she expressed interest primarily in knowing what questions he

      would have asked Holley if he had been granted the opportunity. Newman voiced his suspicion

      Bright was chiefly interested in gathering information from him she could pass on to Holley so

      the latter could prepare for cross-examination in advance of a rehearing. Bright denied that

      friendly relations between Holley and Lanier-Smith could have affected the disciplinary process.


70.   The Foundation for Individual Rights and Expression ("FIRE") wrote to President Frederick and

      Holley in support of Newman. FIRE recapitulated the factual history of Newman's disciplinary

      charges as well as their procedural history and, with Newman's consent, invited Frederick to

      supply any additional facts deemed relevant. FIRE reminded Frederick of Howard University's

      promises of free expression with citations to the Student Handbook: "With appreciation for the

      tradition of freedom of expression on campus, the University reasserts its commitment to

      fostering and tolerating different viewpoints"; and "As members of the University Community,

      all students are guaranteed freedom of expression, inquiry and assembly." FIRE contended that:


      "(A) Newman's Emails Constituted Core Speech; (B) Newman's Emails [Did] Not Constitute

      Disruptive Conduct; (C) Howard Enforced its Listserv Policy in a Viewpoint-Discriminatory

      Manner; and, (D) Newman's Emails [Did] Not Amount to Harassment." Neither Frederick nor

      Holley responded.


71.   Over Newman's protests, the University assembled the same three panelists for his rehearing.

      Holley's testimony of July 26, 2022, repeated the same false and conclusory assertions she had

      made at the prior hearing, again referring to Newman's four-part letter as a "manifesto." She

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      acknowledged the deceased student had died of PE. She claimed Newman had alleged the

      student died from a Covid vaccine. (Newman had asserted only a potential link.) She called

      Newman's email about the deceased student "defamatory." She again claimed Newman had

      continually defied University policy and administrators' instructions.


72.   Lanier-Smith limited Newman's cross-examination to 20 minutes. Holley refused to answer a

      number of questions and, when she did answer, added up to one minute of additional

      comment. Newman was not permitted to limit Holley's answers, but Lanier-Smith told him he

      may have more time for cross-examination. Newman attempted to cut Holley's answers short

      several times, Lanier-Smith reprimanding him and threatening further sanctions each time.

      Lanier-Smith never checked Holley for evasiveness and sometimes interrupted to prevent her

      from answering. Holley claimed she had not read FIRE's letter.


73.   Holley admitted under cross-examination she had supplied the hearing panel evidence against

      Newman that he was never shown. She denied this constituted "secret evidence."


74.   Holley's complaint had accused Newman of harassment without naming any victims, and under

      cross-examination, Holley informed Newman for the first time that she herself was his victim.

      Holley claimed that, by inquiring into his classmate's cause of death during their Zoom meeting

      of January 25, 2022, and by publishing the classmate's reported cause of death, Newman had

      committed harassment against Holley. Holley also claimed to bring the action for harassment

      against Newman on behalf of a group of the deceased classmate's "friends," unnamed, including

      the authors of emails included in her complaint.


75.   Lanier-Smith prevented Holley from answering when Newman asked about an uprising in which

      Howard University students seized Blackburn Community Center on the main campus and held

      it for more than 30 days but were not expelled. Newman nevertheless asked Holley, "If the


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      university sanctioned a Caucasian student but not a black student for substantially the same

      conduct, would the university be in violation of Title VI of the Civil Rights Act?" Holley warned

      Newman that filing a Title VI cause of action against the University "would be very negative for

      you in terms of your own career."


76.   Finally, Newman presented a black-and-white photograph of Howard University students

      participating in a sit-in protest at an area pharmacy in the 1960s. Newman posed the question,

      "Do you think that the manager of this establishment could have made a plausible claim that

      these students' behavior was disruptive?" Holley seemed to regard this question as the most

      offensive remark she had yet heard from Newman and spoke for several minutes about the

      outright offensiveness of Newman comparing himself to past Howard student protesters

      demonstrating for equal treatment. Holley declared to the panelists she was glad Newman had

      put his offensiveness on full display, exclaiming, "This is Michael Newman 101!" then described

      how her mother had suffered under Jim Crow segregation and how Newman must have known

      this and wanted to provoke her in a deliberately hurtful manner. Panelists denounced what they

      considered a demeaning spectacle.


77.   The hearing panel's second Notice of Findings was identical to the first. In Newman's second

      appeal, he objected to the use of secret evidence, apparent disregard for evidence exonerating

      him, and facial absurdity of the charge "harassment." He added the previously-unmentioned

      fact McGahee had discussed with Newman writing a letter to classmates back in October 2000

      and said use of the same letter in an act of expulsion "border[ed] on contemptuousness."


78.   Evers denied Newman's second appeal, finalizing the University's decision to expel Newman.

      Evers denied secret evidence had been used against Newman, contrary to Holley's open




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      admission it had. She asserted the Code included no requirement "that a specific or individual

      'victim' ... be identified in   a
                                          complaint" of harassment.


79.   Evers asserted that Holley's oft-repeated claims Newman had used the listserv in violation of

      School policy and against her express commands were, in fact, tangential and "did not

      'materially affect the decision or finding of the Hearing Panel." In fact, Holley had consistently

      emphasized this claim as central to her complaint, a hearing panelist indicated she was much

      affected by this particular point, Lanier-Smith focused on it primarily in her first meeting with

      Newman, and at Newman's appeal hearing Bright asserted that his purported misuse of the

      listserv was the very cause of the alleged disruptions. (Moreover, Evers could not have deduced,

      in the absence of any supportive rationale in the panel's Notice of Findings, what information


      panelists had deemed central or peripheral to their findings.) Finally, Evers asserted that

      expulsion was a proportionate sanction in part because Newman "had not shown contrition

      throughout [his] student conduct process."


                                                CAUSES OF ACTION

      Count I: Violation of Title VI of the Civil Rights Act of 1964.

      As against University and School.

80.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


81.   Newman bases a prima facie case for discrimination on disparate treatment, hostile educational

      environment, and retaliation. The University and Law School are recipients of significant federal

      funds. Newman belonged to a racial minority as a Caucasian student at Howard Law.


      A. Disparate Treatment.

82.   In January 2021, other students who had used University listservs were not sanctioned. For two


      emails sent over the listserv Holley "permanently banned" Newman from listservs, restricted his



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      email access, called him a "chronic offender" of a purported "listserv policy," assigned him

      subordinate status with diminished privileges, and insisted he abstain from interaction with

      classmates outside the classroom. A year later, in January 2022, African-American students who

      signed an open letter and disseminated it via listserv were not reprimanded (in fact, Holley

      responded favorably to them), but when Newman responded to their open letter over the

      listserv Holley severely reprimanded him, threatened him with disciplinary action, filed a

      complaint against him, and prosecuted him with disregard for abundant evidence he had

      attempted to comply with her ambiguous and unclear policy.


83.   No clear "listserv policy" existed anywhere in the Code, but if any did, McGahee's email of


      January 2021 attested that the policy was in suspension at the time Newman sent emails over

      the listserv. His third and last listserv use in 2022 came after Holley responded congenially to

      African-Americans' listserv use, leading him to understand she allowed use in that instance.

      Holley's allegations of Code violations were pretexts for discriminatory treatment.


84.   Beginning in fall 2020, Holley and classmates scrutinized Newman's commentaries on public

      issues, which were not objectively offensive, while condoning inflammatory racial rhetoric by

      African-Americans, including racial epithets in and outside the classroom. She rebuked Newman

      for a video he posted to GroupMe describing observations on race and racial politics, but when

      asked to comment on a classmate's video which derided Howard University for promoting an

      Asian-American journalist, and which featured a co-host who said she attended an HBCU "just to

      get away from white people," Holley emphasized she had no control over GroupMe. She asked

      students to "monitor your GroupMe chats and report to me any posts that are disruptive to the

      academic environment," which she meant regarding Newman. To fulfill her request a classmate

      defamed Newman with a knowingly false representation of his tweet of Gordon.




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85.   Defendants prosecuted Holley's formal complaint against Newman alleging "disruption" and

      "harassment" with willful disregard for the speciousness of the claims. Defendants expelled

      Newman for "disruption" over emails he had sent, but did not prosecute or reprimand

      classmates for emails and other communications of exaggerated alarm. "Disruptions," if any,

      resulted only from classmates' reactions and not from Newman's commentaries on public

      issues, advocacies of sociopolitical changes, or warnings of potential dangers to their health and

      reflected the view of students and administrators that Caucasian students of Howard Law may

      not express themselves with the same freedom as African-American students. Administrators'

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      and students' uses of the phrases "a black space,         "our space," and "our own spaces" reflected


      the view African-American students enjoy a status of privilege above that of Caucasians.


86.   Holley subjected Newman to more than two hours of scorn and criticism while attempting to

      prevent him from speaking in his own defense. No African-American Howard Law student has

      been forced to endure such public condemnation and humiliation.


87.   The University's persecution of Newman for disruptions his emails allegedly caused contrasted

      starkly with its treatment of students who seized control of the Blackburn Community Center on

      the main campus and held it for over a month. The students involved crippled a major campus

      service and drew national media attention but were not expelled. The president of Howard Law

      Student Bar Association sent an email over a School listserv calling on Howard Law students to

      show support for the Blackburn takeover and was neither reprimanded nor punished for

      unauthorized use of the listserv and support for a major campus disruption.


88.   In fall 2020, some Howard Law students posted an announcement to GroupMe which, in


      Holley's words, "contained incredibly offensive and dehumanizing language, including ethnic

      slurs, gender stereotyping, and categorizing some students as 'real' men and others as



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      'questionable.""        No student was punished. In response, Howard Law employed the services of


      Denise Robinson, a professional diversity and inclusion advocate, to counsel students on sex and

      gender inclusivity. By contrast, no plausible showing has been made that Newman's writings

      were ever hurtful, inflammatory, defamatory, offensive, or dehumanizing, yet he was

      persecuted by students and administrators and expelled. Administrators rejected his calls to

      enlist Robinson's services, or install any program of any kind, to promote race inclusivity.


89.   Newman was denied participation in GroupMe chat groups for discriminatory reasons. Exclusion

      from GroupMe affected him adversely by cutting off a key source of information material to

      academic success as well as reminders of deadlines, offers of employment and study

      opportunities, access to academic resources, and shared insights available to other students.


90.   Howard Law thus denied Newman benefits normally provided under its Juris Doctor program,

      provided him an education different in manner from his peers, and subjected him to separate

      treatment in matters related to services and benefits in violation of Title VI.


91.   Newman was denied entry to the law library three times while African-Americans were allowed

      to enter freely; denied access to counseling services on July 21, 2022; and denied participation

      in the School mentorship program his second year, all for racially discriminatory reasons.



      B. Hostile educational environment.

92.   Faculty and administrators fomented racial animosities toward Newman by endorsing some

      classmates' views that his comments on matters of public concern or advocacy for political and

      social changes were insensitive, offensive, or racist, and by endorsing the view that classmates'


      derogatory comments regarding Caucasians and derogatory epithets were acceptable. Holley

      instructed students to ban Newman from GroupMe and before 300 members of the community

      called his writings "hurtful," "wrong," "lies," and "disturbing." She called Newman "people who


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      are in our community who don't share our values" and insinuated he had said "racist and ...

      terrible things." She understood Newman's tweet of Gordon was intended to support African-

      Americans but withheld this fact as students one after another expressed disgust in a mistaken

      belief Newman supported physical abuse of slaves and took deliberate steps to prevent him

      from explaining the truth until after irreparable damage had been done to his reputation.


93.   Howard Law professors induced students to read anti-Caucasian texts and taught them to

      believe Caucasians were solely or chiefly to blame for the world's problems.


94.   Holley purported to host a second Town Hall for alumni. Further damage caused Newman's

      reputation and standing in the community would have spilled over into the student population,

      negatively impacting him, as students and alumni are in frequent communication.


      C. Retaliation.

95.   Holley immediately retaliated against Newman for his email asking Frederick to address race

      discrimination, telling him Howard was a poor choice for him, requesting he transfer elsewhere,

      assigning him an official subordinate status, insisting he confine his activities to classroom study

      only, and attempting to prevent his participation in a Town Hall devoted to discussing him.


96.   Newman's email to Frederick was protected activity, and Holley's threats, intimidation,

      disciplinary charges, misrepresentations in her testimony, and finally, expulsion, were acts of

      retaliation that violated Title VI. Lanier-Smith, Evers, and Bright prejudiced his disciplinary

      proceedings by circumventing Code-prescribed processes in retaliation for his complaints of

      discrimination. The four administrators acted in concert to deny Newman fairness and

      impartiality in his disciplinary proceedings for reasons motivated by racial animus.


97.   Evers' complicity is further evidenced by her declaration at the end of disciplinary proceedings

      that allegations central to Holley's complaint were tangential and irrelevant. Holley's claims of

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       continuous and defiant use of listservs were central from the beginning, both Lanier-Smith and

       hearing panelists expressed pressing concern regarding this issue, and during his appeal hearing

       Bright asserted Newman's purported misuse of the listserv was the cause of alleged disruptions.

       Evers' note that Newman failed to show contrition, in the absence of wrongdoing, exemplified

       the University's insistence that Caucasian students exhibit deference.


98.    Holley's warning to Newman under cross-examination that a Title VI lawsuit would be "very

       negative" for his career was a threat of further retaliation.


99.    As a direct, proximate, and foreseeable result of Defendants' race discrimination, hostile

       environment, and retaliation, Newman has suffered and will continue to suffer economic losses

       in lost salary, employment benefits and opportunities, and career path; and compensatory


       damages for pain, suffering, emotional anguish, and damage to his reputation; justifying an

       award of $2,000,000 in monetary damages. Newman also seeks reimbursement of attorney's

       fees, interest, and costs associated with pursuing this matter, pursuant to the federal statute.


       Count II: Violation of 42 U.S.C.A. § 1981.

       As against all defendants.


100.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


101.   Existence of contract and breach are discussed under Count V. Third-party Defendant culpability

       is discussed under Count Ill.



102.   Newman's conduct while a student at the School was exemplary. Though his commentaries

       were poorly received by classmates, he carefully crafted all of them for their benefit. The fact

       that in all the criticisms leveled by students, faculty, and administrators, almost no attention

       was ever paid to the content of his writings, but rather, all attention focused on Newman

       personally and his status as a Caucasian student at Howard, demonstrates that the content itself

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       was not offensive, and only the sheer fact a Caucasian student at Howard Law had the audacity

       to be so outspoken in dissent offended those who wished to see Caucasians subjugated.


103.   African-American students routinely commented on their perceptions of moral failures of

       Caucasian-Americans as a class. One professor organized a week of discussion on the topic,

       assigning The Racial Contract, a book which holds as its premise the claim that all Western

       society is built around the oppression and exploitation by Caucasians of non-whites. African-

       American students routinely made caustic, inflammatory remarks against Caucasians with the

       awareness of faculty and administrators but were never reprimanded. By contrast, Newman's

       commentaries, while critical of the African-American community in some respects, took aim at

       certain specific conduct, e.g., voting habits, he considered detrimental to the same African-

       American community. He also voiced his belief that racial discrimination was equally harmful

       when practiced by any race against any other, a view widely opposed at Howard Law, where

       many perceive only Caucasians can be racist. Thus an African-American could not have been

       expelled from Howard Law for writing commentaries about racial politics even if they contained

       inflammatory rhetoric. No African-American student was admonished for voicing a desire to

       "get away from white people" or declaring Howard "a black space." Newman merely shared

       thoughts on issues of public importance, party politics, and national domestic and foreign policy,

       and called attention to anti-Caucasian bigotry and discrimination at Howard Law. None of his


       writings denigrated any racial or other demographic, and he never used racial epithets, while

       African-American students commonly blamed Caucasians for most or all of the world's

       problems, using epithets with tacit approval of peers, faculty, and administrators.


104.   Calls for action from students and alumni peaked after Newman declared racial discrimination a


       problem at Howard Law. Rather than address the widespread anti-Caucasian animus,

       administrators pandered to the anti-Caucasian sentiments with retaliatory actions against him.

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105.   Suspicions Newman was a nefarious actor who had "infiltrated" the Howard community with an

       evil "agenda" could not have arisen in the absence of racial animus. Holley stated she spent 25%

       of her time addressing outrage over Newman's writings, and McGahee said Newman was the

       most hated student he had ever seen at Howard Law. The deep-seated animosity students

       exhibited toward Newman's comments could not have occurred absent racial animus.


106.   Newman's protected activity was in close temporal proximity to adverse actions that were taken

       against him and that were a result of the protected activity.


107.   As a direct, proximate, and foreseeable result of Defendants' race discrimination, hostile

       environment, and retaliation in violation of 42 U.S.C. § 1981, Newman has suffered and will

       continue to suffer economic losses in lost salary, employment benefits and opportunities, and

       career path; and compensatory damages for pain, suffering, emotional anguish, and damage to

       his reputation; justifying an award of $2,000,000 in monetary damages. Newman also seeks

       reimbursement of attorney's fees, interest, and costs associated with pursuing this matter,

       pursuant to the federal statute.


       Count Ill: 42 U.S.C. § 1985(3).


108.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


       A. As against Holley and certain third parties to be identified through discovery.

109,   Holley, students, alumni, and/or other third parties conspired to sift through Newman's

       communications in search of a pretext for an action for expulsion. One student found what she

       thought could serve as a basis in his tweet of Gordon. Holley withheld the meaning of that tweet

       from participants of the Town Hall in an attempt to increase hostility toward him and encourage

       students to bring formal charges against him for disruption. Expulsion was obtained through

       breach of the University's contractual obligations in violation of 42 U.S.C. § 1981 and 42 U.S.C.

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       § 2000d et seq. As a result of Defendants' conspiratorial acts, Newman suffered economic

       damages in lost salary, employment benefits and opportunities, and career path; and

       compensatory damages for pain, suffering, emotional anguish, and damage to his reputation;

       justifying an award of monetary damages. He also seeks reimbursement of attorney fees,

       interest, and costs associated with pursuing this matter, pursuant to the federal statute.


       B. As against six students whose identities are to be obtained through discovery.

110.   Six students conspired to present a show of force with intent to intimidate Newman and deprive

       him of equal protections, privileges, and immunities guaranteed him by 42 U.S.C. § 1981 and 42

       U.S.C. § 2000d et seq. because of his race. They caused him stigma in front of peers and rein-

       forced his inferior status as a Caucasian student, justifying an award of monetary damages.


       C. As against Holley, Lanier-Smith, Evers, Bright, and Frederick.

111.   Holley, Lanier-Smith, Evers, and Bright conspired (1) to contravene procedural safeguards in the

       Code and (2) to abuse discretion granted them by the Code for the purpose and intent to


       deprive Newman of equal protections guaranteed by 42 U.S.C. § 1981 and 42 U.S.C. § 2000d et

       seq.; obfuscated the nature of charges against Newman; disregarded meaningful evidence in his

       favor; declared after conclusion of the disciplinary process that claims central to the complaint

       were only peripheral; and misused the process as a pretext for discriminatory treatment. As a

       result of Defendants' conspiratorial acts, Newman suffered economic damages in lost salary,


       employment benefits and opportunities, and career path; and compensatory damages for pain,

       suffering, emotional anguish, and damage to his reputation; justifying an award of monetary

       damages. He also seeks reimbursement of attorney's fees, interest, and costs associated with

       pursuing this matter, pursuant to the federal statute.




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112.   For collective losses stemming from violations of 42 U.S.C. § 1985(3) Newman seeks $2,000,000

       plus attorney's fees, interest, and costs.


       Count IV: Violation of District of Columbia Human Rights Act.

       As against all defendants.


113.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


114.   Defendants Howard University and Howard University School of Law are "Educational

       institutions" within the meaning of D.C. Code § 2-1401.02(8).


115.   Newman is a member of protected classes based on race, sex, age, sexual orientation, gender

       identity, and political affiliation.


116.   Newman suffered adverse administrative actions including but not limited to hostile

       environment, retaliation, disparate treatment, pretextual disciplinary action, and expulsion.


117.   His protected class status was a substantial factor in Defendants' decisions to pursue expulsion


       charges against him, and these decisions were not attributable to a legitimate reason.


118.   Defendants' actions constituted willful misconduct, were in bad faith, were wanton, were

       outrageous, were done without just cause or excuse, and were done with malice and/or with

       conscious or reckless disregard for Newman's protected rights under the pe
                                                                               DC HRA


119,   During one conversation a professor pressed Newman ten times to agree to her proposition that

       "women of color suffer disproportionately from laws restricting access to abortion." Responding

       to his refusals to do so, ten times she accused him of failing to read the assigned text. She finally

       hinted she may reduce his "participation" grade accordingly. Other professors used participation


       grades, midterms, and/or other assignments, combined with opaque grading systems, to

       circumvent the School's purportedly-anonymous grading policy. Course grades based on


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       research papers typically were not anonymous. Newman voiced concern his grade could, in such

       circumstances, be affected. McGahee denied professors were ever swayed by an ulterior motive

       and called Newman's concern "a very heavy allegation." Newman traces positive correlations

       between anonymity and grades, particularly when voicing opinions opposed by his professors.


120.   Contingency of grades on willingness to espouse the School's favored opinions and narratives,

       or constrain opposition to them; pressure exerted on Newman to endorse the Democratic Party,

       liberal ideologies, or factual premises he opposed; and/or retaliation for Newman's opposition

       to such party, candidates, ideologies, and/or factual premises constituted discrimination based

       on political affiliation in violation of the D DC H HRA


121.   As a direct, proximate, and foreseeable result of Defendants' conduct in violation of D DC H HRA,

       Newman has suffered and will continue to suffer economic losses in lost salary, employment

       benefits and opportunities, and career path; and compensatory damages for pain, suffering,

       emotional anguish, and damage to his reputation; justifying an award of $2,000,000 in monetary

       damages. Newman also seeks reimbursement of attorney's fees, interest, and costs associated

       with pursuing this matter, pursuant to the D.C. statute.


       Count V: Breach of Contract.

       As against University and School.

122.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


123.   In 2019 Newman applied for admission to Howard Law. A December 12, 2019, letter signed by


       Dean of Admissions Reginald McGahee attests to the School and University's offer of placement

       in its Juris Doctor program and scholarship of $26,250 per year. Newman's initials and signature


       attest to his assent to matriculation and the terms of his scholarship July 13, 2020. Newman

       provided consideration in the form of tuition and fees supplied by federal loans.



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124.   To comply with a School mandate, Newman performed additional consideration in May 2021 by

       undergoing Covid vaccination. He soon began suffering breathing difficulties that linger in part

       to the present. Additionally, he subsequently relocated his family to Washington, D.C., at

       considerable expense, departing employment, school, and friendships to pursue his J.D. degree.


125.   Howard University's Non-Discrimination Policy commits it to "strive[] to maintain an

       environment in which all members of the University community are: (a) judged and rewarded

       solely on the basis of ability, experience, effort, and performance; and (b) provided conditions

       for educational ... pursuits that are free from all forms of unlawful discrimination, harassment,

       and retaliation"; and "not [to] tolerate discrimination or harassment against any person... in the


       provision of its education programs or activities, based on race, color, religion, sex, national

       origin, gender identity or expression, sexual orientation, disability, marital status, [and] age...."

       Defendants breached these obligations by censoring or silencing him, vilifying him for legitimate

       public speech, making an odious spectacle of him, willfully fostering a climate of hostility and

       intimidation, predicating academic success in part on willingness to espouse the School's

       favored views, narratives, and political agenda, and wrongfully expelling him.


126.   The Student Code of Conduct guarantees students' rights and freedoms of "expression, inquiry

                                                           wu
       and assembly," "the right to peacefully protest,"        "an environment that is safe and free from



       invidious harassment, discrimination or intimidation, wee,"the right and responsibility to report, in

       good faith and without fear of retaliation, violations of [applicable University codes] to

       appropriate academic or administrative officers," and freedom from discrimination. The Code

       also binds students "[t]o read, become familiar with and adhere to the [applicable University

       codes], the relevant academic Bulletin of the school or college in which the student is enrolled

       and any and all other relevant and pertinent University policies"; and "[t]o protect and foster

       the intellectual, academic, cultural, social, and other missions of the University." Accused

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       students are guaranteed "a fair and impartial hearing before an appropriately appointed hearing

       board, appeal board, or Administrative Hearing Officer."


127.   The University breached its guarantee of free expression by restricting Newman's ability to

       express observations and opinions on matters of public interest and by retaliating for his rightful

       exercise of such expression; of free inquiry by persecuting him for inquiring into and warning

       classmates of the cause of his classmate's death; and of free assembly by denying him digital

       platforms for exchange of ideas permitted other students. The University denied him the right

       to peacefully protest and persecuted him for speaking out against racial bigotry or criticizing Law

       School administration. Administrators denied him an environment free of invidious harassment,

       engaging in invidious harassment themselves and condoning it in their student population. The

       University employed subterfuges in prosecuting Holley's complaint in defiance of basic,

       commonly-recognized principles of due process, denied him the fairness and impartiality

       guaranteed by the Code, and violated its own intellectual, academic, cultural, and social

       missions, its "tradition of freedom of expression on campus," and its "commitment to fostering

       and tolerating different viewpoints."


128.   Through willful misuse of the University's disciplinary process, administrators denied Newman

       his rights under the Code, including the right (i) to cross-examine Holley, initially, and other

       accusers throughout; (ii) timely to examine evidence used against him; (iii) to avail himself of the

       Code's five-day limitation of actions; (iv) to receive adequate notice of hearing; (v) to enjoy a

       presumption of innocence; and (vi) to place the burden of proof on the complainant.


129.   The Code states, "The consequences are serious for students who are charged and/or found

       guilty of misconduct under this Code. Therefore, any member of the University Community who

       knowingly and/or willfully misuses the procedures of the Code to harm another member of the



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       University Community shall be subject to disciplinary action." The University breached its

       contract by ignoring or nullifying Newman's complaint against Holley for threats, intimidation,

       and misuses of disciplinary procedures to stifle freedoms expressly guaranteed under the Code.


130.   Holley purported to bring a disciplinary complaint on behalf of unnamed students. She herself

       had acknowledged the Code did not allow for this. Bright treated Holley's complaint against

       Newman as one brought on behalf of the entire School of Law ("The School of Law community

       found your actions to be disruptive and harassing"). Treating a complaint as if the complainant

       had authority or power to speak on behalf of other parties breached the School's contract


       and/or its contractual implied warranty of good faith and fair dealing.


131.   As a direct, proximate, and foreseeable result of Defendants' breach, Newman has suffered and

       will continue to suffer economic losses in lost salary, employment benefits and opportunities,

       and career path; and compensatory damages for pain, suffering, emotional anguish, and


       damage to his reputation; justifying an award of $4,000,000 in monetary damages, to be

       adjusted by an amount determined at trial if Newman can complete a J.D. degree. Newman also

       seeks reimbursement of attorney's fees, interest, and associated costs as permitted by law.


       Count VI: Breach of Implied Warranty of Good Faith and Fair Dealing.

       As against University and School.

132.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


133.   By cultivating a hostile environment that interfered with Newman's ability to perform well in his

       studies, disregarding or trivializing his reports of racial discrimination, persecuting him for his

       outspokenness, and predicating his grades in part on his acceptance of a marginalized status or

       political ideologies favored by the School, Defendants failed to provide a level playing field for

       academic excellence in breach of the implied warranty of good faith and fair dealing.



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134.   Administrators abused their power to dictate terms of the contract by restricting Newman's

       ability to express observations and opinions on matters of public interest, by attempting to

       confine his activities to classroom study only, and by prosecuting a complaint against him for the

       simple exercise of rights guaranteed him under the Code, for example, the right to criticize

       administrators and the right to inquire into the cause of his classmate's death and share

       information that could impact other students' health. (Or, alternatively, any such rights not

       expressly guaranteed were also never limited by any contractual language.) With Evers'

       approval, Holley stretched the language of the Code beyond its reasonable meaning so as to

       rationalize its application to Newman's alleged conduct, and Evers, Bright, Lanier-Smith, and

       hearing panelists accepted her unreasonable interpretations without question.


135.   Lanier-Smith's bias was evident from her introductory meeting, for example, in her response to

       Newman's query as to where his complaint against Holley had been forwarded: "This is not a

       time for you to grill me about where your stuff is, right? So told you that it was given to the
                                                                     |




       appropriate individuals, and that's really all the conversation that I'm going to have about that."

       Bias throughout Newmans disciplinary process violated the spirit of the Code and Defendants'


       implied warranty of good faith and fair dealing.


136,   Defendants prosecuted Holley's formal complaint with malicious disregard for principals of

       fairness and/or in retaliation for Newman's complaints of race discrimination and formal

       complaint against Holley. Specific acts that violated the University's guarantee of a "fair and

       impartial hearing before an appropriately-appointed hearing board" and breached an implied

       warranty of good faith and fair dealing included but were not limited to the following: Lanier-

       Smith (i) withheld from Newman Holley's complaint until less than three days before his first

       scheduled hearing; (ii) scheduled his first hearing days before his final exams; (iii) allowed

       insufficient time for cross-examination and defense; (iv) used secret evidence against him at

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       both hearings; (iv} employed the same three panelists at his second hearing who had developed


       prejudice against him at his first; (v) failed to question any evidence submitted by Holley; (vi)

       entertained emails from students as evidence without presenting their authors as witnesses

       whom Newman could cross-examine; (vii) exhibited favoritism toward Holley; and (viii) hand-

       picked panelists on whose complaisance she knew she could rely.


137.   Hearing panelists failed to make proper and sound determinations of fact, identify relevant

       sections of the Code, properly interpret the relevant language in those sections, and apply them

       to established facts. Instead, they relied on Holley, a party to the proceedings, to dictate to

       them her own conclusions as to Newman's conduct and any applicability of the Code and

       adjudicated her claims against him based on her conclusions, not their own. Lanier-Smith

       treated Newman disdainfully before hearing panelists and conducted herself as a prosecutorial

       party rather than as a neutral arbiter. Lanier-Smith's refusal to permit certain questions during

       cross-examination prejudiced the proceeding further, and at times Lanier-Smith and panelists

       joined in Holley's open hostility toward Newman, e.g., when he displayed a photograph

       depicting Howard University students engaged in a sit-in protest at a local drugstore. These and

       other failures of proper adjudication violated the spirit of the Code and the implied warranty.


138.   Defendants disregarded persuasive evidence including: lack of any clear language in the Code

       applicable to Newman's conduct, Holley's failure to supply Newman with a clear and

       comprehensible policy or point him to precise language in the Code she deemed relevant,

       McGahee's email announcing the listserv "policy" had been "suspended," and Newman's efforts

       to comply with administrators. They disregarded the fact Holley purported to bring a case on

       behalf of other parties who were never named, which Holley herself acknowledged was not

       permitted under the Code. Much of the basis for Holley's complaint relied on a letter Newman



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       had shared with classmates in four parts, some fashion of which McGahee had preapproved.

       These failures violated the spirit of the Code and the implied warranty.


139.   Newman's biased appeal processes, including, e.g., Bright's use of a private meeting as a ploy to

       solicit information deemed useful to Holley, unexplained disregard for legitimate grounds for

       appeal, and acceptance of Holley's implausible harassment charge attest to complicity to

       pretext and breach of implied warranty of good faith and fair dealing.


140.   The School's contract imposed no allegiance to a party or political ideology, thus, contingency of

       Newman's grades on willingness to espouse favored opinions and narratives, or constrain his

       opposition to them; pressure on Newman to endorse the Democratic Party, liberal ideologies, or

       factual premises he opposed; and/or retaliation for Newman's opposition to such party,

       candidates, ideologies, and/or factual premises violated the implied warranty.


141.   Some Howard Law instructors openly profess to award all students A+. Only through word of

       mouth could classmates share such information pertinent to grades as which courses award A+

       to all students. Newman's ostracism, motivated by discrimination, reduced his access to such

       information. By exacerbating, condoning, or allowing discrimination, Defendants breached a

       good faith duty to provide a level playing field for the pursuit of competitive grades.


142.   Evers' assertion the Code required no specific victims be identified in a complaint of harassment

       offended any acceptable standard of jurisprudence, constituted bad faith, and implicated the

       highest level of University leadership in the fraudulent miscarriage of disciplinary procedure.


143.   As a direct, proximate, and foreseeable result of Defendants' breach of good faith and fair

       dealing, Newman has suffered and will continue to suffer lost salary, employment benefits,

       opportunities, and career path; and compensatory damages for pain, suffering, emotional




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       anguish, and damage to his reputation; justifying monetary damages, combined with Count V, of

       $4,000,000, adjustable as described, with reimbursement of attorney's fees, interest, and costs.


       Count Vil: Defamation.

       As against Holley, School, University, and third parties to be determined through discovery.
144.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


145.   Holley used the entirety of a two-hour Town Hall both to defame Newman and to encourage

       classmates to do so, resulting in damage to Newman's standing among his peers. Statements

       included, but were not limited to, false allegations of racism.


146.   Holley's formal complaint and oral testimony contained false and defamatory statements, some

       of which were republications of reports by third parties, that permanently injured Newman in

       his profession and community standing, lowered him in the estimation of classmates,


       professors, and/or alumni, and resulted in expulsion. Expulsion will make difficult or impossible

       admission to alternate J.D. or other academic study and restrict future employment possibilities.

       Defendants acted out of malice, ill will, and conscious indifference or reckless disregard as to

       their effects on Newman's rights or feelings, misquoted or quoted him out of context, and/or

       characterized him or his words as "racist" or "racially offensive" without just cause or excuse.


147.   Holley's testimony that Newman was argumentative with her and McGahee mischaracterized

       those interactions-which McGahee has conceded were entirely cordial-prejudiced him to the

       hearing panelists, and contributed to his expulsion.


148.   Holley falsely asserted to hearing panelists Newman continued using the listserv in 2021 after

       being asked multiple times to cease, and Lanier-Smith, panelists, and Bright acknowledged the

       persuasive effect this claim had on their determination to find against Newman.




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149.   Holley called Newman's email regarding a deceased classmate "defamatory" and claimed

       Newman had written that she died from the Covid-19 vaccine. Newman only reproduced a news

       report from the classmate's hometown attributing her death to PE and cited scientific reports of

       a potential link between the vaccine and PE.



150.   Holley claimed Newman said the difference between black Americans and other Americans was

       that black Americans wanted the government to solve their problems for them. Newman only

       said he parted with the black community on the question of whether government solves


       problems or only creates them, made no assertions regarding other demographic groups, and

       did not compare African-Americans to other races.


151.   Holley accused Newman of saying African-Americans suffer from hive mind. He told a specific

       group of classmates only that they, not African-Americans generally, suffered from hive mind.


152.   The foregoing false and defamatory claims prejudiced administrators and hearing panelists and

       contributed to Newman's expulsion. Under D.C. law, republications of defamatory statements

       give rise to liability in both the original source and the party responsible for republication.


153.   Defendants' false and defamatory statements were intentionally harmful, reckless, or negligent;

       were not protected by privilege to a third party or public interest; were actionable as a matter of

       law irrespective of special harm; and their publication caused Newman special harm.


154.   Additional false and defamatory statements made by Holley during her Town Hall for alumni will

       be requested through discovery and included in an amended complaint.


155.   As a direct, proximate, and foreseeable result of Defendants' false and defamatory statements,

       Newman has suffered and will continue to suffer lost salary, employment benefits and

       opportunities, and career path; and compensatory damages for pain, suffering, emotional



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       anguish, and damage to his reputation; justifying an award of $400,000. Newman also seeks

       reimbursement of attorney's fees, interest, and associated costs as permitted by law.


       Count Vill: Intentional Infliction of Emotional Distress.

       As against Holley, School, and University.
156.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


157.   Holley's pattern of extreme and outrageous conduct was intentional, extreme, outrageous, and

       in deliberate disregard for the high degree of probability Newman would suffer injury including


       emotional distress.


158.   Beginning in fall 2020 and culminating with expulsion, Holley conspired with Newman's

       classmates to seek grounds for his dismissal from school; subjected him to more than two hours

       of public condemnation and ridicule at a Town Hall meeting; at which time she defamed him in

       front of peers even as she disabled his microphone, lowered his digital "hand," turned off the

       chat, and disabled his camera all with the intent of preventing him from speaking in his defense;

       suppressed information she knew had the potential to exonerate him regarding his tweet of

       Gordon; fabricated or substantially altered evidence to present in his prosecution; fostered a

       hostile educational environment; and engaged in such a general pattern of harassment and

       intimidation as to be intolerable in a civilized community.


159.   Holley used an administrative charge as a pretext for unlawful discrimination and colluded with

       other University officials to circumvent the letter and spirit of the Code, poisoned the

       disciplinary process, and deliberately prejudiced the hearing panelists.


160.   As a direct, proximate, and foreseeable result of Defendants' intentional infliction of emotional

       distress, Newman has suffered severe emotional distress, at times resulting in psychological

       pain, anger, resentment, depression, anxiety, suicidality, family strife, and public and private



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       embarrassment, justifying an award of $200,000 in monetary damages. Newman also seeks

       reimbursement of attorney's fees, interest, and associated costs as permitted by law.


       Count IX: Tortious interference with contractual relations.

       As against third party defendants.
161.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


162.   Defendants knew of the School's contractual relationship with Newman and petitioned the

       School to breach its contract. The cumulative pressure of their demands raised the specter of a

       potential loss of revenue in the form of tuition dollars if students transferred elsewhere or

       passed on negative reviews to potential applicants if their demands for action were not met.


163.   Defendants employed predatory methods to force the School to meet demands which led to his

       expulsion and caused him to suffer emotional, mental, academic, and economic harm. Newman

       has suffered and will continue to suffer lost salary, employment benefits, opportunities, and

       career path; and compensatory damages for pain, suffering, emotional anguish, and damage to

       his reputation; justifying monetary damages, combined with Counts V and VI, of $4,000,000,


       adjustable as described. He also seeks reimbursement of attorney's fees, interest, and costs.


       Count X: Prevention Doctrine.

       As against University and School.
164.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


165.   Defendants prevented Newman from performing in the top half of his class by embarrassing him

       publicly, stoking or tolerating anti-white sentiment, causing him to suffer ostracism, depression,

       anxiety, and intrusive thoughts of suicide, and precluded his ability to perform adequately on

       exams. Some grades were reduced because of bias, and ostracism and discrimination created an

       unlevel playing field. Newman seeks restoration of his scholarship in full, $52,750, with

       attorneys' fees and costs, plus interest, of this action, added to other remedies awarded.

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       Count XI: Promissory Estoppel.

       As against University and School.
166.   Prior paragraphs are realleged and incorporated by reference as if fully set forth herein.


167.   Defendants promised Newman full availability of his academic merit scholarship renewable for

       three years. In anticipation of his continued scholarship Newman relocated himself and his son

       to Washington, D.C., in August 2021 and began study, relying to his detriment on Defendants'

       promise. Defendants failed to notify him of his loss of scholarship until after he had relocated

       and begun studies. Absent an award under Count X, Newman seeks damages under promissory


       estoppel of $52,750, attorneys' fees and costs, plus interest, added to other remedies awarded.


                                                PRAYER FOR RELIEF


168.   WHEREFORE, Newman respectfully requests that this Court:


       A.   Declare Defendants' conduct of committing race discrimination, hostile environment,

            and/or retaliation against Newman to be in violation of 42 U.S. Code § 2000d et. seq,;


       B.   Declare Defendants' conduct of committing race discrimination, hostile environment,

            and/or retaliation against Newman to be in violation of 42 U.S.C. § 1981;


       C.   Declare Defendants' conspiracy to deprive Newman of federally-protected rights to be in

            violation of 42 U.S.C. § 1985(3);


       D.   Declare Defendants' conduct of committing discrimination, hostile environment, and/or

            retaliation against Newman to be in violation of the D.C. Human Rights Act;


       E.   Enjoin Defendants to comply with the aforementioned federal and state laws;


       F.   Declare Defendants School and University to be in unlawful breach of contract;




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G       Declare Defendants School and University to be in violation of contractual implied warranty

        of good faith and fair dealing;


H       Enjoin the School to continue Newman's education and, upon adequate completion of

        requisite courses and credit hours, graduate him with a Juris Doctor degree;


        Declare Defendants Holley, School, University, and third parties liable for defamation

        against Newman;


J       Declare Defendants Holley, School, and University liable for intentional infliction of

        emotional distress against Newman;


K       Declare that a private university owes its students a tort duty not to abuse its power

        imbalance to interfere with students' freedom of expression;


L       Declare the University denied Newman a duty not so to abuse its power in interference with

        his freedom of expression, and award Newman additional money damages as the Court


        deems proper;


M . Declare that a private university owes its students a tort duty not to abuse its power

        imbalance to deny them good faith efforts to assure fairness and impartiality in adjudication

        of disciplinary actions;


N       Declare the University denied Newman a duty to fulfill such good faith efforts, and award

        Newman additional money damages as the Court deems proper;


    .   Award Newman damages for emotional distress, pain, anguish, suffering, and damage to his

        reputation;




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        P.   Award Newman damages to compensate lost income, employment benefits and

             opportunities, and career path;


       Q. Award Newman exemplary damages totaling $8,407,000 against Defendants School and


             University;


        R.   Award Newman exemplary damages in as permitted by law and/or the Court's discretion

             against all other Defendants;


       S.    Award Newman his costs and reasonable attorney's fees incurred for each count in this

             action as permitted by law;


       T.    Award Newman prejudgment and post-judgment interest for each count in this action as

             permitted by law; and


        U.   Grant such other and further relief as the Court deems just and proper.


                                               DEMAND FOR JURY TRIAL


TRIAL BY JURY IS DEMANDED ON ALL ISSUES TRIABLE BY A JURY.


Respectfully submitted this 16" day of January, 2023.


                                                          /s/ Michael Ray Newman
                                                          Representing Himself
                                                          1935 Lamont Street NW
                                                          Washington, D.C. 20010-2624
                                                          Telephone: (808) 796-4708
                                                          E-mail: thayray@gmail.com




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                   Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 55 of 70
                                            Superior Court of the District of Columbia
          %               A                             CIVIL DIVISION
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                                     500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
              Os OF COS                   Telephone: (202) 879-1133 Website: www.dccourts.gov

    Michag)                       Neumar
                                                                   Plaintiff

                                                                                                    Case Number      202 2 CAB                      0002. Yb

                                                                  Defendant

                                                                 SUMMONS
  To the above named Defendant:

               You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve
                                                                                                            your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

         You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W.,  between   8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint.

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   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

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CV-3110 (Rev. June 2017]                                                                                                     Super. Ct. Civ. R. 4
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                                             Superior Court of the District of Columbia
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                      Sy,                   Telephone: (202) 879-1133 Website: www.dccourts.gov

            chine                 R. Newman
                                                                    Plaintiff

                                                                                                      Case Number 202          3-CA B-00D2Y6
      Donielle Holley
                                                                   Defendant


                                                                   SUMMONS
 To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty one (21) days after service of this summons upon you,
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Name of Plaintiff's Attorney

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CV-3110 [Rev. June 2017]                                                                                                        Super. Ct. Civ. R. 4
                  Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 58 of 70
                                               Superior Court of the District of Columbia
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                        a                                  CIVIL DIVISION
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                                                          Civil Actions Branch
                        le               500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                  coy                         Telephone: (202) 879-1133 Website: www.dccourts.gov

    Michael R.                                Aan
                                                                      Plaintiff

                                                                                                        Case Number      2023 -CAB -COOZ Yh.
   Weyne                     A.1. Frederica
                                                                     Defendant

                                                                    SUMMONS
 To the above named Defendant:

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 judgment by default may be entered against you for the relief demanded in thecomplaint:
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Name of Plaintiff's Attorney

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CV-3110 [Rev. June 2017]                                                                                                             Super. Ct. Civ. R. 4
               Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 59 of 70
                                            Superior Court of the District of Columbia
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                                                        CIVIL DIVISION
                                                       Civil Actions Branch
       o           fs
                                  500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                       Telephone: (202) 879-1133 Website: www.dccourts.gov

     Michael Newson
                                                                   Plaintiff
                                      VS.

                                                                                                     Case Number 2 2 3
     Howavd              University                               Defendant


                                                                 SUMMONS
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Michael R- Newman (orn ce)                                                                   Clerk of the Court.
Name of Plaintiff's Attorney                 y




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Address                                                                                                    Deputy Clerk       ys

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CV-3110 [Rev. June 2017]                                                                                                       Super. Ct. Civ. R.4
                Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 60 of 70
                                          Superior Court of the District of Columbia
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                                      Telephone: (202) 879-1133 Website: www.dccourts.gov

    Mich Be\               RR.   Newnan,
                                                                 Plaintiff
                                    VS.

                                                                                                   Case Number     2023 ~CAR
  Howard Univ. Schoe) of Lavo
                                                                Defendant

                                                               SUMMONS
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Michae          |    R. Naoman (pro se                                                              the- Count
                                                                                           Clerk of the
Name of Plaintiff's Attorney


 19356 Lamont Stveet NW                                                      By
Address                                                                                                  Deputy Clerk

Weshington, D-C                     200 1-021624                                                                   Na

   808) F96-             440                                                 Date
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CV-3110 [Rev. June 2017]                                                                                                     Super. Ct. Civ. R. 4
                   Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 61 of 70
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                              |   R. Nauman
                                                                   Plaintiff
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           awen Loniey                  -     Suite
                                                                  Defendant

                                                                 SUMMONS
 To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty one (21) days after service of this summons upon you,
 exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
 or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
 Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
 attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
 to the plaintiff at the address stated on this Summons.

         You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W.,  between    8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
  the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint.

 M Scho el                R. News an Gplo se)                                                Clerk of the Court
Name of Plaintiff's Attorney


  425 8 Loment Street Nw                                                       By
                                                                                                      5
Address                                                                                                 i
                                                                                                            Depit Clerk.
                                                                                                            Deput



          0                                                                    Date
Telephone
203 Biz, FT Bk (202) 879-4828               Veuillez appeler au (202) 879-4828 pour une traduction     Dé cd mdt bai dich, hay goi (202) 879-4828

Hee Ae  Ale (202) 879-48285 Wepre
    WS} Alw,                                          PATICY   TCV AMIN (202) 879-4828 Lean

  IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO; OPPOSE THIS
ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
                                                                                                                   at 500
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                    See reverse side for Spanish translation
                                                     Vea al dorso la traduccién al espafiol




CV-3110 [Rev. June 2017]                                                                                                       Super. Ct. Civ. R. 4
               Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 62 of 70
                                              Superior Court of the District of Columbia
                                                          CIVIL DIVISION
                                                         Civil Actions Branch
        1       ¢                   500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                 VY,                     Telephone: (202) 879-1133 Website: www.dccourts.gov

                                                 an
                                                                    Plaintiff
                                       VS.

                                                                                                      Case Number 2.0        23 CA 8-                -
                                                                                                                                                         C00 247
       Debra               Be        ht
                                                                    Defendant

                                                                   SUMMONS
  To the above named Defendant:

            You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve
                                                                                                             your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is
                                                                                                  suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.


         You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W.,  between   8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint.

 Michael B- Newman                                                                            Clerk of the Court


                                                                                                 VOUS
 Name of Plaintiff's Attorney

  1435 B Lomend Stree!                              NW                          By
 Address                                                                                                    Deputy Clerks.
                            D.C.
   C #08)     2Gb          470 8                                                Date
 Telephone                                                                                                                        dee,
 3076 Biz, wd) BAF (202) 879-4828            Veuillez appeler au (202) 879-4828 pour une traduction     Dé cO mot bai dich, hdy goi (202) 879-4828

     AAD (202) 879-4828 Mera
 HAS AANA,                                             PATICT TCIM              (202) 879-4828


   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME,

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Lega! Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                      See reverse side for Spanish translation
                                                       Vea al dorso la traduccién al espafiol




CV-3110 [Rev. June 2017]                                                                                                        Super. Ct. Civ. R. 4
                 Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 63 of 70

                                 Superior Court of the District of Columbia
                                    Civil Division - Civil Actions Branch
                          500 Indiana Ave NW, Room 5000, Washington DC 20001
                                     202-879-1133 | www.dccourts.gov


Case Number: 2023-CAB-000246
Case Caption: Michael R. Newman v. Howard University School of Law et. al.

                                                      INITIAL ORDER

           Initial Hearing Date:                     Initial Hearing Time:                    Courtroom Location:
             Friday, 04/21/2023                             9:30 AM                          Remote Courtroom 517

                               Please see attached instructions for remote participation.

                               Your case is assigned to Associate Judge Shana Frost Matini.

Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure (“Super. Ct. Civ. R.”) 40-
I, it is hereby ORDERED as follows:
1) This case is assigned to the judge and calendar designated above. All future filings in this case shall bear the
    calendar number and judge’s name along with the case number in the caption.
2) Within 60 days of the filing of the complaint, plaintiff must file proof of service on each defendant of copies of the
    summons, the complaint, and this Initial Order. The court will dismiss the claims against any defendant for whom such
    proof of service has not been filed by this deadline, unless the court extended the time for service under Rule 4.
3) Within 21 days of service (unless otherwise provided in Rule 12), each defendant must respond to the complaint by
    filing an answer or other responsive pleading. The court may enter a default and a default judgment against any
    defendant who does not meet this deadline, unless the court extended the deadline under Rule 55(a).
4) At the time stated below, all counsel and unrepresented parties shall participate in a hearing to establish a schedule
    and discuss the possibilities of settlement. Counsel shall discuss with their clients before the hearing whether the
    clients are agreeable to binding or non-binding arbitration. This order is the only notice that parties and counsel will
    receive concerning this hearing.
5) If the date or time is inconvenient for any party or counsel, the Civil Actions Branch may continue the Conference
    once, with the consent of all parties, to either of the two succeeding days when the calendar is called. To reschedule
    the hearing, a party or lawyer may call the Branch at (202) 879-1133. Any such request must be made at least seven
    business days before the scheduled date. No other continuance will be granted except upon motion for good cause
    shown.
6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil cases, each
    judge’s Supplement to the General Order and the General Mediation Order. Copies of these orders are available in
    the Courtroom and on the Court’s website http://www.dccourts.gov/.

                                                                                          Chief Judge Anita M. Josey-Herring




                                                         Page 1 of 6
               Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 64 of 70
To Join by Computer, Tablet, or Smartphone:
1) Copy and Paste or Type the link into a web browser and enter the Webex Meeting ID listed below.

   Link: dccourts.webex.com/meet/ctb517

   Meeting ID: 129 911 6415

2) When you are ready, click “Join Meeting”.
3) You will be placed in the lobby until the courtroom clerk gives you access to the hearing.


Or to Join by Phone:

1) Call 202-860-2110 (local) or 844-992-4726 (toll-free)
2) Enter the Webex Meeting ID listed above followed by “##”



Resources and Contact Information:

1) For best practices on how to participate in Webex Meetings, click here https://www.webex.com/learn/best-
   practices.html.
2) For technical issues or questions, call the Information Technology Division at 202-879-1928 and select
   option 2.
3) For case questions, call the Civil Actions Branch Clerk’s Office at 202-879-1133.




                                                 Page 2 of 6
              Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 65 of 70


                                  ACCESSIBILITY AND LANGUAGE ACCESS


Persons with Disabilities:
If you have a disability as defined by the American Disabilities Act (ADA) and you require an accommodation,
please call 202-879-1700 or email ADACoordinator@dcsc.gov . The D.C. Courts does not provide
transportation service.


Interpreting and Translation Services:
The D.C. Courts offers free language access services to people having business with the court who are deaf
or who are non-English speakers. Parties to a case may request free translations of court orders and other
court documents. To ask for an interpreter or translation, please contact the Clerk’s Office listed for your
case. For more information, visit https://www.dccourts.gov/language-access.


Servicios de interpretación y traducción:
Los Tribunales del Distrito de Columbia ofrecen servicios gratuitos de acceso al idioma a las personas sordas
o que no hablan inglés que tienen asuntos que atender en el tribunal. Las partes de un caso pueden solicitar
traducciones gratuitas de las órdenes judiciales y otros documentos del tribunal. Para solicitar un intérprete o
una traducción, póngase en contacto con la Secretaría de su caso.
Para más información, visite https://www.dccourts.gov/language-access.
El acceso al idioma es importante para los Tribunales del Distrito de Columbia. Puede dar su opinión sobre
los servicios de idiomas visitando https://www.dccourts.gov/services/information-and-resources/interpreting-
services#language-access.


የቃልና የጽሑፍ ትርጓሜ አገልግሎቶች፡

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https://www.dccourts.gov/services/information-and-resources/interpreting-services#language-access
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                                                  Page 3 of 6
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      Tips for Attending Remote Hearings - Civil Division
       Your court hearing may be held remotely. This means that you will participate by phone or by video
            conference instead of coming to the courthouse. Here are some tips on how to prepare.


How do I know if I have a remote hearing?                                Tips for the Hearing
The Court will contact you to tell you that your hearing is remote.         Join the hearing a few minutes early!
They may contact you by sending you an email, letter in the mail,
or by calling you.                                                          Charge your computer or phone and make sure you have
                                                                             enough minutes to join the call. Find a private and quiet
                                                                             space. If possible, be alone in a room during the hearing. Try
                                                                             to limit distractions as much as possible. If others are in the
                                                                             room with you, ask if they can be quiet during the hearing.
How do I take part in a remote hearing?
                                                                            Mute your microphone when you are not talking. Mute all
The Court will give you step-by-step instructions on how to take             sounds on your phone or computer.
part in the remote hearing.
                                                                            Say your name before you speak so the record                   is
If you lose your written notice, call the Civil Actions Clerk’s Office       clear. Be prepared to identify your role in the
for instructions at:                                                         hearing (e.g., observer, plaintiff, defendant, witness, etc.).
                                                                            Speak slowly and clearly so everyone hears what you are
                           202-879-1133
                                                                             saying.
                                                                            Pause before speaking in case there is a lag. Use a headset
Is there anything that I should do before                                    or headphones if you can. This will free up your hands and
the day of the hearing?                                                      sound better.
                                                                            Try not to talk over anyone else. Only one person can speak
   Let the court know immediately if you cannot join a hearing
                                                                             at a time. If you talk while someone else is talking, the judge
    because you do not have a phone or computer.
                                                                             will not be able to hear you.
        Civil Actions Clerk’s Office: 202-879-1133
                                                                            Have all your documents for the hearing in front of you. Have
                                                                             a pen and paper to take notes.
   You may want to contact an attorney for legal help.                     If you are not ready for your hearing or want to speak with an
   You can also find the list of legal services providers at                attorney, you can ask the judge to postpone your hearing for
    dccourts.gov/coronavirus by clicking on the link that says,              another date.
    "List of Legal Service Providers for Those Without an                   If your sound or video freezes during the hearing, use the
    Attorney."                                                               chat feature or call the Clerk's Office to let them know that
   Evidence: if you want the judge to review photos or                      you are having technical issues.
    documents, ask the judge how to submit your evidence.
   Witnesses: tell the judge if you want a witness to testify at        Special Tips for Video Hearings
    your hearing.                                                        (Click here for more information)
   Accommodations & Language Access: let the court know if                 Download the court’s hearing software, WebEx, in advance
    you need an interpreter or other accommodation for your                  and do a test run! The Court will provide you with a WebEx
    hearing.                                                                 link in advance of the hearing.
                                                                            Set up the camera at eye level. If you are using your phone,
                                                                             prop it up so you can look at it without holding it.
                                                                            Look at the camera when you speak and avoid moving
                                                                             around on the video.
                                                                            Wear what you would normally wear to court.
                                                                            Sit in a well-lit room with no bright lights behind you.
                                                                            If possible, find a blank wall to sit in front of. Remember the
                                                                             judge will be able to see everything on your screen, so pick a
                                                                             location that is not distracting.



                                                                 Page 4 of 6
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                              District of Columbia Courts
                    Tips for Using DC Courts Remote
                                           Hearing Sites
  The DC Courts have remote hearing sites available in various locations in the community to help
  persons who may not have computer devices or internet service at home to participate in scheduled
  remote hearings. The Courts are committed to enhancing access to justice for all.

  There are six remote access sites throughout the community which will operate: Monday – Friday,
  8:30 am – 4:00 pm.
                                         The remote site locations are:
         Remote Site - 1                                                               Remote Site - 4
Balance and Restorative Justice                                               Balance and Restorative Justice
Center                                                                        Center
1215 South Capitol Street, SW                                                 920 Rhode Island Avenue, NE
Washington, DC 20003                                                          Washington, DC 20018


          Remote Site - 2                                                                Remote Site - 5
Balance and Restorative Justice                                                Reeves Center
Center                                                                         2000 14th Street, NW, 2nd Floor
1110 V Street, SE                                                              Community Room
Washington, DC 20020                                                           Washington, DC 20009


          Remote Site - 3                                                                 Remote Site - 6
Balance and Restorative Justice                                                Reeves Center
Center                                                                         2000 14th Street, NW, Suite 300N
118 Q Street, NE                                                               Office of the Tenant Advocate
Washington, DC 20002                                                           Washington, DC 20009
                                                                               *** No walk-ins at this location***

  If you want to use a remote site location for your hearing, call 202-879-1900 or email
  DCCourtsRemoteSites@dcsc.gov at least 24 hours before your hearing to reserve a remote access
  computer station. If you require special accommodations such as an interpreter for your hearing, please call
  202-879-1900 at least 24 hours in advance of your hearing so the Courts can make arrangements.
  *You should bring the following items when you come to your scheduled site location*
     1. Your case number and any hyperlinks provided by the Courts for your scheduled hearing.
     2. Any documents you need for the hearing (evidence), including exhibits, receipts, photos, contracts, etc.
     3. Materials for notetaking, including pen and paper.
     4. A facial covering will be required for entry into the remote hearing location; if you do not have a facial
        covering one will be provided.
 *Safety and security measures are in place at the remote sites.
  Contact information to schedule your remote access computer station:
  Call: 202-879-1900
  Email: DCCourtsRemoteSites@dcsc.gov



                                                    Page 5 of 6
                                Tribunales del Distrito de Columbia
                  Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 68 of 70

                       Consejos para usar los sitios de audiencia remota de los
                                          Tribunales de DC
  Los Tribunales de DC disponen de sitios de audiencia remota en distintos centros de la comunidad para
  ayudar a que las personas que no tienen dispositivos informáticos o servicio de Internet en su casa puedan
  participar en audiencias remotas programadas. Los Tribunales honran el compromiso de mejorar el acceso de
  toda la población a la justicia.


  En toda la comunidad hay seis sitios de acceso remoto que funcionarán de lunes a viernes, de 8:30 am a 4:00
  pm.

                                               Los centros de acceso remoto son:

         Sitio Remoto - 1                                                                            Sitio Remoto - 4
Balance and Restorative Justice                                                             Balance and Restorative Justice
Center                                                                                      Center
1215 South Capitol Street, SW                                                               920 Rhode Island Avenue, NE
Washington, DC 20003                                                                        Washington, DC 20018


         Sitio Remoto - 2                                                                             Sitio Remoto - 5
Balance and Restorative Justice                                                              Reeves Center
Center                                                                                       2000 14th Street, NW, 2nd Floor
1110 V Street, SE                                                                            Community Room
Washington, DC 20020                                                                         Washington, DC 20009


         Sitio Remoto - 3                                                                              Sitio Remoto - 6
Balance and Restorative Justice                                                              Reeves Center
Center                                                                                       2000 14th Street, NW, Suite 300N
118 Q Street, NE                                                                             Office of the Tenant Advocate
Washington, DC 20002                                                                         Washington, DC 20009
                                                                                             *No se puede entrar sin cita previa*

  Si desea usar un sitio remoto para su audiencia, llame al 202-879-1900 o envíe un mensaje de correo electrónico a
  DCCourtsRemoteSites@dcsc.gov al menos 24 horas antes de la audiencia, para reservar una estación de
  computadora de acceso remoto. Si necesita adaptaciones especiales, como un intérprete para la audiencia, llame
  al 202-879-1900 al menos 24 horas antes de la audiencia para que los Tribunales puedan hacer los arreglos
  necesarios.

  *Cuando concurra al sitio programado debe llevar los siguientes artículos*

                   1. Su número de caso y todos los hipervínculos que le hayan proporcionado los
                      Tribunales para la audiencia programada.

                   2. Cualquier documento que necesite para la audiencia (prueba), incluidos documentos
                      probatorios, recibos, fotos, contratos, etc.

                   3. Materiales para tomar nota, como papel y lápiz.
                   4. Para ingresar al sitio de la audiencia remota deberá llevar una mascarilla facial; si no tiene
                      mascarilla facial, se le proporcionará una.

  *Los sitios de acceso remoto cuentan con medidas de seguridad y protección.

  Información de contacto para programar su estación de computadora de acceso remoto:
  Teléfono: 202-879-1900
  Correo electrónico: DCCourtsRemoteSites@dcsc.gov

                                                             Page 6 of 6
       Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 69 of 70




      SUPERIOR COURT OF THE DISTRICT OF COLUMBIA CIVIL DIVISION


MICHAEL R. NEWMAN,                           )
                                             )      Case No.: 2023 CAB 000246
                               Plaintiff,    )
v.                                           )      The Honorable Shana Frost Matini
                                             )
HOWARD UNIVERSITY SCHOOL                     )      Next Event: Initial Hearing, April 21, 2023
OF LAW, et al.                               )      at 9:30am
                    Defendants.              )
                                             )

     PRAECIPE OF APPEARANCE OF AMANDA SHAFER BERMAN AS COUNSEL
                          FOR DEFENDANTS

       Pursuant to D.C. Superior Court R. Civ. P. 101(b)(1), the undersigned notifies this Court

of her appearance as counsel for Defendants Howard University School of Law, Howard

University, Danielle Holley, Wayne A.I. Frederick, Cynthia Evers, Debra Bright, and Lawan

Lanier-Smith in this matter.


DATED: February 10, 2023                    Respectfully submitted,

                                            /s/ Amanda Shafer Berman
                                            Amanda Shafer Berman (#497860)
                                            CROWELL & MORING LLP
                                            1001 Pennsylvania Ave., N.W.
                                            Washington, D.C. 20004
                                            Tel: (202) 688-3451
                                            Fax: (202) 628-5116
                                            aberman@crowell.com
       Case 1:23-cv-00436-TNM Document 1-2 Filed 02/16/23 Page 70 of 70




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2023, I caused to be served a true copy of the

foregoing Notice of Appearance via first class mail postage prepaid on:


Michael R. Newman
1935B Lamont Street NW
Washington, DC 20010-2624

                                                    /s/ Amanda Shafer Berman
                                                    Amanda Shafer Berman
